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. Docket Report

1684CV02726
Fossa Ltd et al vs. Lin, | Jian et al

CASE TYPE: Torts FILE DATE: 09/01/2016
ACTION CODE: B99 CASE TRACK: F - Fast Track
DESCRIPTION: Other Tortious Action

CASE DISPOSITION DATE 09/23/2016 CASE STATUS: Closed

CASE DISPOSITION: Transferred to another Court STATUS DATE: 09/23/2016
CASE JUDGE: CASE SESSION: Civil G

LINKED CASE

PARTIES

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SUFFOLK COUNTY CIVIL

Docket Report

Plaintiff
IcelandicPLUS LLC

Defendant
Encompass Communications Inc Doing Business as
Brandintent

Defendant
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SUFFOLK COUNTY CIVIL
Docket Report

INFORMATIONAL DOCKET ENTRIES

Date Ref Description Judge
09/01/2016 Case assigned to:
DCM Track F - Fast Track was added on 09/01/2016
09/01/2016 1. Original civil complaint fled,
09/01/2016 2 — Civil action cover sheet filed($200,000.00) 0
09/01/2016 _ Demand forjurytrialentered, 0
09/01/2016 Attorney appearance
. On this date Valentin David Gurvits , Esq. added for Plaintiff Fossaltd 2,
09/01/2016 Attorney appearance
Oo OC On this date Matthew Shayefar, Esq. added for Plaintiff FossaLtd =
09/01/2016 Attorney appearance
On this date Valentin David Gurvits , Esq. added for Plaintiff IcelandicPLUS
cs LLC. .
09/01/2016 Attorney appearance
Co On this date Matthew Shayefar, Esq. added for Plaintiff IcelandicPLUS LLC ©
09/01/2016 Attorney appearance
Sects On this date Valentin David Gurvits, Esq. added for Plaintiff Steven Barlow
09/01/2016 Attorney appearance
Be On this date Matthew Shayefar, Esq. added for Plaintiff Steven Barlow
09/21/2016 3 Notice of Removal to the United States District Court filed by
Defendants (US Dist #16-cv-11914)
Applies To: Lin, | J (Defendant); Encompass Communications Inc Doing
Business as BrandIntent (Defendant)
_ Certified copy _
09/22/2016 Attorney appearance
a On this date Mitchell J. Matorin, Esq. added for Defendant | Jian Lin
09/22/2016 Attorney appearance
On this date Mitchell J. Matorin, Esq. added for Defendant Encompass
Communications Inc Doing Business as BrandIntent
09/23/2016 REMOVED to the U.S. District Court | HEREBY ATTEST AND CERTIFY ON:
of Massachusetts Sept. 27, 2016 a ¥
THAT THE
09/23/2016 Case transferred to another court.

FOREGOING DOCUMENTS A FULL,
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ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

_», DEPARTMENT OF THE TRIAL COURT

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Case No: 1684CV02726

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COMMONWEALTH OF MASSACHUSETTS

Suffolk, SS.
Fossa Ltd.,
IcelandicPLUS LLC and Massachusetts Trial Court Division
Steven Barlow Suffolk Superior Court
Case No. . 7 (
Plaintiffs, Ue 21 (
Vv.

I Jian Lin and

Encompass Communications, Inc. d/b/a Jury Trial Requested
“BrandIntent” as
Defendants. .
COMPLAINT AND JURY DEMAND a

This is an action for fraud, embezzlement, breach of contract, breach of fiduciary duty
and related causes of action where the Plaintiffs seek damages and other relief for the actions and
omissions of Defendants.

PARTIES

1. The Plaintiff Fossa Ltd. is an Anguilla International Business Company, with
registration number 2328479 with a registered office at Hannah Waver House, The Valley,
Anguilla, British West Indies.

2. The Plaintiff IcelandicPLUS LLC is a Delaware limited liability company with a
registered office at 16192 Coastal Highway, Lewes, Delaware.

3. The Plaintiff Steven Barlow is an individual who resides at 665 Washington St.,
PH27i, Boston, Massachusetts 02111 (“Barlow,” and/together with the other Plaintiffs,

Plaintiffs”).
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4. The Defendant I Jian Lin is an individual who, on information and belief, resides
at 9 Riverview Heights, Amesbury, Massachusetts 01913, and who has a business address at 18
Graf Road #26, Newburyport, Massachusetts 01950 (“Lin”).

5. Upon information and belief, the Defendant Encompass Communications, Inc.
d/b/a “BrandIntent” is a Massachusetts corporation with its principle office at 18 Graf Road #26,
Newburyport, Massachusetts 01950 (“BrandIntent” and together with Lin, “Defendants”).

6. Upon information and belief, Lin is the sole shareholder, director and officer of
BrandIntent.

FACTS
The Beginnings of the Relationship Between Barlow and Lin

7. Prior to March of 2013, Barlow was a semi-retired entrepreneur and business
investor and Lin engaged in consulting for marketing, brand positioning and strategic planning
through BrandIntent.

8. In or about March of 2013, Barlow and Lin began a close business relationship,
built around mutual friendship, a past working relationship and trust.

9. In or about March of 2013, Lin approached Barlow for some advice about a pet
food business he was involved in named Murr Inc. & Murr Ehf. (collectively, “Murr”) an
Icelandic company and money that was allegedly owed to Lin for services rendered by
BrandIntent for Murr.

10. One of the first new business opportunities that Barlow and Lin pursued together

was in relation to the pet food company Murr.
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11. After much discussion with Lin about Murr’s business throughout March 2013
and meeting the Murr CEO and owner Einar Tamimi in April 2013, Barlow was invited to enter
into a consulting agreement with Murr, which was executed on May 01, 2013.

12. Among other activities, Barlow and Lin intended to try to sell Murr pet food
products in the United States and elsewhere.

13. From the onset Barlow opted out of being a “money investor” in Murr and kept
his role as strictly consultative and to be solely compensated through commissions from the
proceeds of sales of Murr products outside of USA.

14. After some months of building the Murr business, Barlow and Lin pursued third-
party investors to finance Murr’s growth strategy. During this time and during negotiations for a
multimillion dollar investment and due diligence process Mr. Tamimi halted his financial
support for Murr’s United States operations. After this Barlow made his first visit to Iceland and
met with all Murr business partners and vendors. It became clear that Murr & Mr. Tamimi owed
monies to many parties. Barlow and Lin then organized and effectuated a Murr bankruptcy on
behalf of all Murr creditors.

15. Following the initiation of the bankruptcy proceeding, Mr. Tamimi convinced the
Icelandic court that he personally owned the brand name “Murr” and all IP relating to the
formulas of Murr’s dog and cat food. This derailed the plans for Barlow and Lin and all creditors
to reorganize and finance Murr for ongoing operations and profits.

16. | When Mr. Tamimi stopped funding Murr’s United States activities Lin
approached Barlow to provide “bridge loans” to Lin and BrandIntent so that he could keep the
company afloat in an effort to sell the USA based Murr inventory in hopes to recover monies for

all Barlow’s loans and the efforts Barlow and Lin expended on Murr’s behalf. Barlow agreed to
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loan monies to Lin and BrandIntent with the terms that he would get the first money out from
any sales and 50% of the sales proceeds beyond the repayments of all Barlow loans. The net
amount of loans made Defendants in the furtherance of these sales opportunities was
approximately $91,000. Attached hereto as Exhibit 1 is documentation showing some of the
loan payments Barlow made to BrandIntent.

17. Generally, Barlow agreed to loan and finance Lin’s Murr related business
expenses while engaged in business activities that would result in the sale of Murr products that
were stored in Murr’s United States warehouses and in Canada.

18. Barlow loaned considerable sums in connection with the pursuit of the Murr
business opportunity, giving Lin the opportunity to connect with individuals within Murr and
persons who were interested in purchasing Murr products and partners and vendors in USA,
Iceland, Canada, China, and elsewhere and otherwise create business connections that were
intended to be to be for the benefit of both of them.

19. Barlow loaned Defendants approximately $91,000 of his own money in
connection with the Murr business opportunity.

20. In the aftermath of the Murr bankruptcy, Barlow and Lin generally agreed that
they would together pursue various other business opportunities beyond Murr. Their intent was
that Barlow would provide funding as loans for these new business opportunities and provide his
considerable business wisdom on a limited time basis and Lin would find business opportunities
and operate and manage them as a full time executive.

21. After some time, Lin informed Barlow that the Murr business opportunity to sell
the Murr product inventory was not going to be feasible, and Lin stated that he needed to dispose

of it so that Barlow and Lin could move onto other new opportunities together.
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22. However, as detailed below, Barlow later discovered that Lin sold Murr products
to Chinese purchasers and did not account to Barlow for the sale and took all of the proceeds for
personal gain.

Formation of Fossa Ltd

23. In or about the summer of 2014, Barlow and Lin identified another business
opportunity involving collecting and/or purchasing natural products from Iceland for sale in the
United States, Canada and elsewhere, which they agreed to pursue together through new
business entities they would form together.

24. The business entity which they formed to pursue the Icelandic business
opportunities in Iceland was the Plaintiffs Fossa Ltd..

25. Barlow and Lin also formed the Plaintiff IcelandicPLUS LLC, which does
marketing support, assembly, warehouse storage and logistics for the Icelandic products in the
United States and elsewhere.

26. Fossa Ltd. and IcelandicPLUS LLC and their businesses are collectively referred
to herein as “Fossa.”

27. Barlow and Lin are each 50% ultimate beneficial owners of Fossa.

28. Barlow and Lin are each officers and/or managers of Fossa.

29. Prior to, during and after the incorporation of Fossa on or about November 04,
2014, including during its operations, Barlow has loaned Fossa significant amounts of money in
order to fund Fossa and its business and operations.

30. Barlow has loaned at least $692,000 to Fossa since its inception.

31. Lin was permitted to use these funds only under the conditions that he use them

reasonably and only for purposes that advanced the interests of Fossa and its business.
32. Lin was not permitted to use these funds for any personal purposes or for the

benefit of BrandIntent or any other businesses of Lin.

33. Between August of 2014 and July of 2015, Barlow estimates that he loaned
approximately $435,000 to Fossa by payments to BrandIntent’s bank accounts at TD Bank (see
“Expense Practices” below). Outside these periods, Barlow has invested si gnificant additional
funds.

34. Lin was only permitted to use Fossa’s funds (i.e., the funds loaned by Barlow) for
meals and other per diem purposes while he was travelling to Iceland for Fossa as well as direct
business expenses of Fossa.

35. Lin and Barlow agreed that any of Fossa’s revenues shall first be used to pay back
Barlow’s loans to both Fossa and the Murr project before making any other distributions.

36. Until such time as Barlow recovered his loans, Lin and Barlow also agreed that
Lin would not cause Fossa to take any actions outside the ordinary course of business, including
by impairing the value of the assets of Fossa or otherwise interfering with the assets, goodwill or
business of Fossa.

Expense Practices

37. Through at least July of 2015, Barlow and Lin agreed that, for ease and until the
appropriate bank accounts could be set up, Fossa’s expenses would be paid through BrandIntent’
bank accounts, credit cards and debit cards and that Barlow and/or Fossa would reimburse
BrandIntent for the Fossa expenses (only) upon Lin’s request.

38. Through at least July of 2015, Lin would charge Fossa’s expenses to BrandIntent

and regularly request Barlow and/or Fossa to pay BrandIntent for the expenses.
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44. Starting at the latest in May of 2014, Defendants began to embezzle and misuse
Plaintiffs’ funds.

45. Plaintiffs (by reimbursing Defendants) have expended approximately $458,000
just in the time period from August 2014 through July 2015. (Fossa’s total expenses since its
inception have been at least $1,175,000.)

46. After extensive research of Defendants’ records, Plaintiffs have calculated that
only approximately $289,000 of that $458,000 amount was spent by Defendants on clear and
reasonable purposes related to Fossa’s business.

47.  Proportionately, this means that up to 37% of all putative expenses of Fossa
between August 2014 and July 2015 were actually misappropriated by Defendants for their own
personal use and benefits.

48. Plaintiffs have calculated that Defendants spent approximately $116,000 of the
$458,000 (i.e., 25%) on what are clearly personal purposes or purposes completely unrelated to
Fossa.

49. Ofthe remaining approximately $53,000 of the $458,000 (i.e., 12%) Plaintiffs
cannot at this time determine whether they were legitimate Fossa business expenses or otherwise.

50. The following are only a sampling of Defendants’ personal or non-Fossa expenses
for which Plaintiffs reimbursed Defendants, none of which were for Fossa business reasons:

a. On August 26, 2014, Defendants paid $650.00 to Gus’s Bike Shop in North

Hampton, New Hampshire, for which Plaintiffs rermbursed Defendants. See
Exhibit 6 hereto, portion of BrandIntent bank statement from August 2014. Also
clearly visible in Exhibit 6 are numerous other non-Fossa related expenses for

which Defendants received money from Plaintiffs.
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On August 27, 2014, Defendants paid $590.00 to Kaizen Tuning, a custom
automotive shop in Boxborough, Massachusetts, for which Plaintiffs reimbursed
Defendants. See Exhibit 6 hereto, portion of BrandIntent bank statement from
August 2014. Also clearly visible in Exhibit 6 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

On September 9, 2014, Defendants paid $1,225 to Papa Wheelies in Portsmouth,
New Hampshire, which is a bicycle shop, for which Plaintiffs reimbursed
Defendants. See Exhibit 7 hereto, portion of BrandIntent bank statement from
September 2014. Also clearly visible in Exhibit 7 are numerous other non-Fossa
related expenses for which Defendants received money from Plaintiffs.

On September 12, 2014, Defendants paid $2,269.94 to Gus’ Bike Shop in North
Hampton, New Hampshire, for which Plaintiffs reimbursed Defendants. See
Exhibit 8 hereto, portion of BrandIntent bank statement from September 2014.
Also clearly visible in Exhibit 8 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

On September 15, 2014, Defendants paid $232.55 to the Shabu Zen restaurant in
Allston, Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit
9 hereto, portion of BrandIntent bank statement from September 2014. Also
clearly visible in Exhibit 9 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

On October 20, 2014, Defendants paid $81.91 to Blue Lagoon Verslun Grindavik
ISL Cosmetic Store in Iceland, for which Plaintiffs reimbursed Defendants. See

Exhibit 10 hereto, portion of BrandIntent bank statement from October 2014.
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Also clearly visible in Exhibit 10 are numerous other non-Fossa related expenses
for which Defendants received money from Plaintiffs.

g. On November 17, 2014, Defendants issued a check in the amount of $5,600 using
Fossa’s funds without any cognizable legitimate business purpose. See Exhibit 11
hereto, portion of BrandIntent bank statement from November 2014. Also clearly
visible in Exhibit 11 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

h. On December 22, 2014, Defendants paid $365.60 to Bassler Veterinary Hospital
in Salisbury, Massachusetts, $227.86 to the Coach store in Kittery, Maine and
$91.98 to the Aldo store in Burlington, Massachusetts, for all of which Plaintiffs
reimbursed Defendants. See Exhibit 12 hereto, portion of BrandIntent bank
statement from December, 2014. Also clearly visible in Exhibit 12 are numerous
other non-Fossa related expenses for which Defendants received money from
Plaintiffs.

On February 3, 2015, Defendants paid $12.29 to the Dunkin Donuts in Amesbury,
Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit 13
hereto, portion of BrandIntent bank statement from February 2015. Also clearly
visible in Exhibit 13 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

On April 17, 2015, Defendants paid $111.47 to Bed Bath and Beyond in Danvers,
Massachusetts, for which Plaintiffs reimbursed Defendants. See Exhibit 14

hereto, portion of BrandIntent bank statement from April 2015. Also clearly

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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 15 of 208

visible in Exhibit 14 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

k. On May 11, 2015, Defendants paid $640.56 via PayPal to Tiretrack, a tire
company, for which Plaintiffs reimbursed Defendants. See Exhibit 15 hereto,
portion of BrandIntent bank statement from May 2015. Also clearly visible in
Exhibit 15 are numerous other non-Fossa related expenses for which Defendants
received money from Plaintiffs.

1. On June 22, 2015, Defendants paid $182.01 to Shio Japanese Restaurant in
Portsmouth, New Hampshire and $247.00 via PayPal to Vollkommend in San
Jose, CA for car parts, for which Plaintiffs reimbursed Defendants. See Exhibit
16 hereto, portion of BrandIntent bank statement from June 2015. Also clearly
visible in Exhibit 16 are numerous other non-Fossa related expenses for which
Defendants received money from Plaintiffs.

m. On June 29, 2015, Defendants paid $168.00 to the Lululemon Athletica clothing
store in Natick, Massachusetts, for which Plaintiffs reimbursed Defendants. See
Exhibit 17 hereto, portion of BrandIntent bank statement from June 2015. Also
clearly visible in Exhibit 17 are numerous other non-Fossa related expenses for
which Defendants received money from Plaintiffs.

n. On July 14, 2015, Defendants paid $235.48 to the Cole Haan store in Kittery,
Maine, for which Plaintiffs reimbursed Defendants. See Exhibit 18 hereto,
portion of BrandIntent bank statement from July 2015. Also clearly visible in
Exhibit 18 are numerous other non-Fossa related expenses for which Defendants

received money from Plaintiffs.

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oO. On July 23, 2015, Defendants paid $3,976.52 to B&H Photo in New York, for

which Plaintiffs reimbursed Defendants. See Exhibit 19 hereto, portion of
BrandIntent bank statement from July 2015. Also clearly visible in Exhibit 19 are
numerous other non-Fossa related expenses for which Defendants received money
from Plaintiffs.

51. Attached hereto as Exhibit 20 is a spreadsheet setting forth Defendants’ non-
Fossa expenditures in detail.

52. On information and belief, Defendants would regularly make checks out to cash
or send wires or make other untraceable payments, which Lin explained to Barlow and Fossa as
being for business purposes, but were instead were for his own personal use or non-Fossa uses

53. Defendants’ expenditures of Plaintiffs’ funds for illegitimate purposes only began
to slow down after Plaintiffs instituted strict accounting procedures and put in spending controls.

Lin’s Unreasonable Expenses

54. Even Lin’s expenses which conceivably could have been classified as business
expenses were unreasonable and indicate abuse.

55. For example, Lin spent an average of approximately $161.00 per day for business
meals while on his trips to Iceland.

56. The following are just a few examples of the extraordinarily expense meals
expensed by Lin on his business trips to Iceland: $390.00 at Rub 23 Akureyri on October 10,
2014; $385.57 at Fiskmarkadurinn Reykjavik on October 20, 2014; $263.99 at Fiskfelagid
Reykjavik on December 11, 2014; and $469.23 at Studio Braud Kopavogur on February 13,

2015.

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57. Barlow, on the other hand, spent an average of approximately $80.00 per day for
business meals while on his trips to Iceland.
58. On information and belief, Lin’s children and others travelled with him on his

business trips to Iceland, and Lin charged much of their expenses to Fossa.

Other Persons Were Using Lin’s Business Credit Card for Personal Expenses

59. On information and belief, Lin would provide BrandIntent’ debit card to his
family and/or friends to use for their own personal purposes, for which he would later be
reimbursed by Plaintiffs.

60. Lin travelled to Iceland for Fossa’s business from February 2, 2015 through
February 13, 2015. See Exhibit 21 hereto, a portion of BrandIntent’ bank records showing Lin’s
expenses in Iceland during this time period, including, for instance, a $95.00 charge for airport
transportation on February 2, 2015 and charges in Iceland starting thereafter.

61. In that same time period that Lin was in Iceland from February 2 to 13, 2015,
there were numerous charges on BrandIntent’ debit card to businesses in the United States,
totaling over $1,000.00. Some of those expenses include $17.38 to Pet City in Seabrook, New
Hampshire on February 3, 2015 and $43.11 to the CVS in Amesbury, Massachusetts on February
12, 2015. See Exhibit 21.

62. Lin travelled to Iceland for business from July 1 through July 14 of 2015. See
Exhibit 22, a portion of BrandIntent’ bank records showing Lin’s expenses in Iceland during this
time period

63. Despite being in Iceland at that time, on July 13, 2015, there were at least $779.77
of charges to Fossa’s account from clothing stores in the Kittery Outlet Mall in Kittery, Maine.

See Exhibit 22.

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64. Defendants were reimbursed for all these US expenses while Lin was travelling in

Iceland — expenses that could not possibly have been related to Lin’s work for Fossa.

Lin Intentionally Failed to Respond to Explanations

65. Starting at the latest in January of 2015, Barlow began questioning Lin about his
expenditures on the business.

66. For example, on January 20, 2015, Barlow emailed Lin the following: “I know
you are working very hard and making great progress. I need to have a better understanding of
the spending to date and going forward. Please send me details on the following...” The Email
then listed 12 wire transfers totaling over $40,000.00. Barlow explained that he did “‘not have
unlimited funds for keeping Fossa afloat and I am getting a bit concerned.” See Exhibit 23
hereto.

67. Lin never provided all of the information requested in that email.

68. On February 16, 2015, Barlow sent another email to Lin asking for details on the
previous 12 wire transfers as well as another 7, to which Lin never responded with all of the
information requested. See Exhibit 24 hereto.

69. Barlow, and eventually the bookkeeper that Fossa hired, sent emails of this sort to
Lin on nearly a monthly basis, which Lin largely ignored. See, for example, Exhibit 25 and
Exhibit 26.

Lin Misappropriates Iceland Grant Money

70. | Onor about June 1, 2015, the Icelandic development agency Vaxtasamningur

Vestfjarda deposited $2,743.96 into BrandIntent’s bank account. See Exhibit 27 hereto.

71.  Oninformation and belief, this was a grant for Fossa.

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72. Defendants never reported this income that was due to Fossa to Plaintiffs and Lin
did not send this revenue to Barlow as he agreed, given the enormous debt that Fossa had to
Barlow and that all revenues would first be paid to Barlow.

Lin’s Collusion to Usurp Fossa Opportunities with Gordon Shaw and Shiran K. Porisson

73. One of Fossa’s important business contacts in Iceland was an individual by the
name of Shiran K. Porisson (“Mr. borisson”), with whom Lin created a business relationship
under Fossa’s name and using Fossa’s funds.

74. In July of 2015, Lin began working with Mr. borisson to bring a potential
business affiliate, a venture capitalist named Gordon Shaw (“Mr. Shaw’’), to Iceland to begin
work on other projects in Iceland.

75. Although the business with Mr. Shaw was a Fossa business opportunity, Lin
worked with Mr. Périsson to usurp the business opportunity for himself and BrandIntent.

76. Inanemail dated July 28, 2015, Lin wrote to Mr. Porisson and stated that Mr.
Shaw “really wants to see what I am up to and what interests me in Iceland but mostly he is
investing in me and my vision here,” indicating that he was meeting with Gordon for his own
personal purposes. See Exhibit 28 hereto.

77. However, his entire business trip to Iceland when he met with Mr. Shaw was paid
for by Fossa.

78. In December of 2015, Lin took a family trip to Iceland, which he described to Mr.
Périsson in an email dated December 14, 2015 as “a stealth trip so we will not be telling
anyone.”

79. Despite it being a family trip and a “stealth trip,” Lin expensed the trip to Fossa

and did not tell Barlow about the trip or its purposes. On information and belief, Lin used this

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and other trips as a means to build up his non-Fossa business in Iceland and to usurp Fossa’s
business opportunities.

80. In December of 2015, Lin gave a key to the apartment that Fossa had rented in
Iceland for Fossa purposes only to Mr. borisson for Mr. Périsson’s personal use and without
telling Barlow or accounting for such use to Plaintiffs.

Lin Misappropriates Fossa’s Fish Skin Project

81. Soon after the formation of Fossa, Barlow and Lin discussed and had plans to
expand the business of Fossa from its initial product of lamb horns to other items sourced from
Iceland, including fish skins and fish related products.

82. Barlow and Lin had numerous conversations over many months about Fossa

purchasing and selling the fish skins. See, for example, Exhibits 29-31, emails from Lin to

Barlow regarding progress on the fish skin project (with irrelevant and confidential business
communications omitted) and photos of Lin visiting fish skin suppliers.

83. Barlow and Fossa expended time, resources and funds working on the fish skin
business.

84. Lin originally approached other parties to work on the fish skin project under the
Fossa name and using Fossa funds.

85. After Lin created these connections and the groundwork under Fossa, Defendants
usurped the business opportunities, and sought to have money that should have been paid to
Fossa for the project paid to Brand Intent instead.

86. In an email thread dated December 30, 2015 with Mr. Périsson, Mr. Périsson
emailed Lin at his Fossa email address with documents listing Fossa as the entity working on the

fish skins project. See Exhibit 32 hereto.

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87. Lin emailed Mr. Périsson back and stated, falsely and fraudulently, that “it was a
BrandIntent project and not a Fossa project.” Exhibit 32.

88. Lin thereafter executed documents for the project in his own and BrandIntent’
name rather than in Fossa’s name, taking the business opportunities that were meant for Fossa.
See Exhibit 33 hereto.

89. Upon information and belief, Lin personally received $32,590 for usurping the
fish skins project that should have been Fossa’s. See Exhibit 33 hereto.

90. Lin purposefully hid from Plaintiffs Defendants’ transactions relating to the fish
skins and the funds.

Defendants Sold Murr Products Without Including or Informing Barlow

91. As noted above, Barlow and Lin were partners in the Murr project, with Barlow
fronting significant funds as loans towards that project.

92. Barlow and Lin agreed that any revenue realized from the Murr project would
first be used to repay Barlow’s loans into the project before splitting profits between them.

93. In March of 2014, Barlow and Lin discussed a potential deal where they would
sell Murr products to China.

94. Lin told Barlow that the China deal could not be completed.

95. However, Lin completed the deal without telling Barlow and, on May 21, 2014,
Lin received $46,130 for selling Murr products in China. See Exhibit 34, a portion of
BrandIntent’ bank statement showing incoming wire from Zenwotronic Enterprises Co., a
Chinese retailer of pet products.

96. Attached hereto as Exhibit 35 is also a screenshot of a website from China selling

Murr products in China that were sold to it by Lin.

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97. Lin never told Barlow about the sale and never shared any of the revenue from the
sale with Barlow.

98. Defendants purposefully hid the sale of the Murr products from Barlow and kept
the proceeds, which should have been paid to Barlow.

Additional Factual Allegations

99. In an email on or about September 18, 2015, Lin admitted to a contractor for
Fossa, Omar Mar Jonsson, that the records he has been providing Barlow for his expenses were
incorrect. Specifically, he wrote: “The record J have for Steve [Barlow] does not match aureus
Icelandic record.” See Exhibit 36.

100. Defendants purchased certain physical items and property to be used in Fossa’s
business and warehouse in the United States, for which Plaintiffs reimbursed Defendants. After
those items and property were delivered to the warehouse, Lin over time entered the warehouse
and took the items and property, which he converted for Defendants’ use. Those items and
property include, without limitation, fish skin samples, horns, marrow products, lamb skins, horn
knives, furniture, a saw/buffer, a label printer, an iPad and an iPhone. Those items and property
have not been returned.

101. In or about July of 2015, when Fossa implemented stricter accounting and
bookkeeping procedures, which had the effect of limiting Lin’s ability to further embezzle and
misuse funds, Lin began to complain about health problems, which he used as an excuse to stop
responding to requests to explain his questionable activities. On information and belief, Lin was
overstating the suffering from his health problems and continues to do so to date for effect.

102. All told, Plaintiffs estimate that Defendants have damaged Plaintiffs in an amount

of at least $200,000 to $250,000, though the exact amount may be greater and cannot be

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determined as a result of the actions and omissions taken by Defendants to hide their activities.
This amount is calculated as follows: $116,000 of personal and non-Fossa expenses charged to
Plaintiffs, plus the $2,743.96 grant from Vaxtasamningur Vestfjarda that Defendants kept for
themselves, plus $46,130 from the sale of Murr products that Defendants kept for themselves,
plus $32,590 in funding for the fish skin project that Defendants kept for themselves, plus up to
$53,000 of additional expenses which Plaintiffs cannot at this time determine are legitimate
Fossa expenses.

103. Additionally, on information and belief, Defendants inflated the costs of
legitimate expenses and wages for personnel of Fossa and skimmed cash off the top of those
expenses and wages, which they kept for themselves. Plaintiffs at this time cannot determine the
amount of such monies embezzled by Defendants.

COUNT I
Breach of Fiduciary Duty

Plaintiffs against Lin

104. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

105. Lin, as a partner to Barlow and as an officer of Fossa, owed a fiduciary duty to
Plaintiffs.

106. Lin breached his fiduciary duty by engaging in the acts and omissions set forth
herein.

107. In consideration of the above facts and circumstances, to the extent that demand
would be required, demand on the management of Fossa would be futile.

108. Plaintiffs have suffered direct harm and damages from Lin’s breaches of fiduciary

duties for which Lin is personally liable.

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COUNT ll
Breach of Contract
Plaintiffs against Lin

109. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

110. The Parties made several agreements between themselves regarding their
relationships and business opportunities.

111. Without limitation, Barlow and Lin agreed that any activities relating to Murr
would be a joint project between them and that any revenues from that project would first go to
paying back Barlow’s loans.

112. Without limitation, Barlow, Lin and Fossa agreed that Barlow’s loans in Fossa
would be used only for Fossa purposes and not for Lin’s personal purposes or other purposes.

113. Without limitation, Barlow, Lin and Fossa agreed that all business opportunities
in Iceland, including any business opportunity relating to fish skins, would be Fossa’s business
opportunities.

114. Without limitation, Barlow, Lin and Fossa agreed that Lin would not take any
action which would cause damage to Fossa’s assets, business or goodwill.

115. Barlow and Fossa have complied with their obligations under the agreements
between the parties.

116. Lin has breached the agreements between the parties, including, without
limitation, by his acts set forth herein.

117. Barlow and Fossa have suffered direct harm and damages resulting from Lin’s
breaches of the agreements, for which Lin is liable.

COUNT Ill
Unjust Enrichment

20
Plaintiffs against Defendants

118. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

119. By engaging in the acts and omissions set forth herein, Defendants have received
benefits to which Plaintiffs are entitled.

120. Under the circumstances described herein, it would be inequitable for Defendants
to retain such benefits without payment for their value to Plaintiffs.

121. Defendants have been unjustly enriched by Plaintiffs and equity and good
conscience require Defendants to make restitution to Plaintiffs for the benefits that Defendants
have inequitably retained from Plaintiffs.

COUNT IV

Fraudulent Misrepresentation
Plaintiffs against Defendants

122. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

123. Defendants made numerous misrepresentations to Plaintiffs with the intention that
Plaintiffs would rely upon them.

124. Without limitation, Lin represented to Barlow that he would use any of the
revenues from the Murr project to first pay back Barlow’s loans and then he would share the
profits with Barlow.

125. Without limitation, Defendants represented to Plaintiffs that they would use
Barlow’s loans in Fossa only for Fossa business purposes and not for any personal or other

purposes.

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126. Without limitation, Lin represented to Plaintiffs that the business activities he was
engaging in in Iceland and elsewhere were for the benefit of Fossa, and not for his own personal
benefit or the benefits of others, including BrandIntent.

127. Without limitation, Defendants represented to Barlow and Fossa that the expenses
they requested reimbursements for were for Fossa’s business purposes only and not for any other
purposes.

128. Defendants’ representations were false and Defendants knew them to be false
when they made them or they made recklessly without knowledge of their truthfulness.

129. Defendants made the false representations with the intent that Plaintiffs would
rely on them.

130. Plaintiffs justifiably relied on the false representations, including by, without
limitation, investing further funds in Fossa, making payments to Defendants and permitting
Defendants to continue to spending Plaintiffs’ funds.

131. As adirect result, Plaintiffs have suffered harm and damages for which
Defendants are liable.

COUNT V
Embezzlement

Plaintiffs against Defendants

132. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

133. Defendants have dishonestly withheld and/or taken funds and other property from
Plaintiffs, the true owners of the funds and other property.

134. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items

and property.

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135. Defendants have acted with the intent to deprive Plaintiffs of their rights to
possess and use the funds and other property for Defendants’ use.
136. Defendants’ acts have directly caused Plaintiffs damages and harm for which

Defendants are liable.

COUNT VI
Conversion
Plaintiffs against Defendants

137. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

138. By engaging in the acts and omissions set forth herein, Defendants have
converted Plaintiffs’ property, including funds and other property, for their own use,
intentionally and without consent.

139. Without limitation, Lin entered the warehouse of Fossa and took Fossa’s items
and property.

140. Defendants’ actions and omissions have caused direct damages and harm to
Plaintiffs for which Defendants liable.

COUNT VII

Civil Conspiracy
Plaintiffs against Defendants

141. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

142. Defendants devised and engaged in a common design with other parties,
including, on information and belief, other employees and contractors of Fossa and BrandIntent

(including, without limitation, Mr. Périsson) and Lin’s children and other parties whose

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identities are only known to Defendants at this time (collectively, the “Conspirators”), one or
more of whom, on information and belief, reside in Iceland, to commit wrongful acts.

143. As described herein, Defendants committed tortuous and other wrongful acts in
furtherance of the common design of the Conspirators.

144. Without limitation, Defendants and the other Conspirators engaged in acts and
omissions in a common design to embezzle funds and other property from Plaintiffs.

145. This conspiracy has caused direct harm and damages to Plaintiffs for which
Defendants are liable.

COUNT VIII

Accounting
Plaintiffs against Defendants

146. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

147. As set forth in detail herein, Defendants have committed fraud and other illicit
acts against Plaintiffs.

148. As part of the fraud and other illicit acts, Defendants have concealed their
wrongful acts from Plaintiffs.

149. Plaintiffs are unable to ascertain the full extent of their damages without a full and
complete accounting of the benefits Defendants have derived from Plaintiffs.

150. Plaintiffs require a full and complete accounting of Defendants’ assets and
finances to determine their damages.

151. Plaintiffs do not have an adequate remedy at law and are entitled to equitable
relief in the form of an accounting by Defendants.

COUNT Ix
Violation of RICO, 18 U.S.C. § 1962(c)

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Plaintiffs against Defendants

152. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

153. Defendants have acted in concert with the other Conspirators to violate the civil
RICO statute and have thereby caused damages to Plaintiffs.

154. The Conspirators have assisted, aided and abetted Defendants in many of their
acts and omissions set forth herein.

155. The association of the Conspirators constitutes an enterprise within the meaning
of 18 U.S.C. § 1961(4), which enterprise was engaged in, and whose activities affected, interstate
and foreign commerce. The enterprise was and is continuous in that it lasted for at least one
year, has an ascertainable structure and is distinct from the predicate offenses alleged herein.

156. Upon information and belief, the role of each of the Conspirators is as follows:

a. Lin was the head of the Conspirators and is responsible for gaining access to

Barlow and Fossa’s funds and resources for use by the other Conspirators.

b. BrandIntent were the corporate entity through which the illegitimate transactions
flowed.
Cc. Lin’s children knowingly received funds and other goods and services by way of

Lin’s embezzlement and other bad acts and held them for their own and Lin’s use.
d. Shiran bérisson was Lin’s contact and conspirator based in Iceland who helped
him engage in business dealings in Iceland when he couldn’t be there physically

himself and who otherwise assisted Lin in his activities.

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e. Fossa’s employees and/or contractors were responsible for keeping Barlow and
Fossa from learning about the true dealings of Defendants and the Conspirators,
hiding important information and providing false information.
157. The Conspirators are each a person within the meaning of 18 U.S.C. § 1961(3)
and are each separate from the enterprise.
158. The Conspirators’ scienter is clearly established from their pattern and practices
alleged herein.
159. Each Conspirator participated and conspired with the other Conspirators to
participate in the affairs of the aforementioned enterprise through a pattern of racketeering
activity, as set forth more fully below, all in violation of 18 U.S.C. § 1962(c).

Wire Fraud, violation of 18 U.S.C. § 1343

160. The Conspirators, having devised or intending to devise a scheme or artifice to
defraud and/or obtain money or property by means of false or fraudulent pretenses,
representations or promises, transmitted or caused to be transmitted, writings, signs, or signals by
means of wire communications in interstate or foreign commerce for the purpose of executing
such scheme or artifice.

161. The Conspirators have engaged in the predicate acts of wire fraud in violation of
18 U.S.C. § 1343 by sending emails, text messages, initiating telephone calls and engaging in
other communications over the wire communications of interstate commerce. The full extent of
the wire fraud and other predicate acts by the Conspirators is unknown to Plaintiffs at this time.

162. The Conspirators have engaged in the following partial list of predicate acts of

wire fraud in violation of 18 U.S.C. § 1343:

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a. On January 15, 2015, Lin sent Barlow an email explaining the status of his
ongoing business trip to Iceland (which was expensed to Fossa), including
information about how he visited an automated fish skin production facility for
pet chews, which Lin indicated would be a business opportunity for Fossa. See
Exhibit 31. However, it was Lin’s intention (as he later accomplished) to take
that business opportunity for himself after using Fossa’s funds to explore it.

b. On January 17, 2015, Lin sent Barlow an email stating that “Fish skin is dead.”
However, Lin instead took the fish skin project on as his own. See Exhibit 37.

c. On numerous occasions, Lin sent emails to Barlow requesting additional funding
and setting forth budgets for what he said were business expenses, but which
Plaintiffs now understand were largely for personal expenses. Lin sent such
emails on September 2, 2014 (Exhibit 2), September 8, 2014 (Exhibit 3), January
22, 2015 (Exhibit 4), February 17, 2015 (Exhibit 5) and beyond.

d. In the September 13, 2014 email, Lin stated that “I have been very strict and
careful on spending the cash and at times overly stressed about it. As you know
that I will not spend any funds unless it is necessary.” See Exhibit 38 (irrelevant
portions omitted). To the contrary, on the day before, on September 12, 2014, Lin
spent $2,269.94 of Fossa’s funds at Gus’ Bike Shop in North Hampton, New
Hampshire. See Exhibit 8.

e. On August 3, 2015, Lin responded to an email from Fossa’s bookkeeper, Sonya
Livshits, where the bookkeeper asked Lin to respond to expenses which were
never explained. Lin responded by email that he could not provide explanations

at that time. See Exhibit 39. Upon information and belief, Lin knew what the

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163.

expenses were for but never explained them because they were personal expenses
and he wanted to hide his bad acts. Lin never did explain all the expenses.

On December 30, 2015, Lin send an email to Mr. bérisson asking him to change
the business entity on the fish skin project documents from Fossa to BrandIntent.
See Exhibit 32.

On or about September 18, 2015, Lin sent an email to a contractor for Fossa,
Omar Mar Jonsson, explaining ‘‘The record I have for Steve [Barlow] does not
match aureus Icelandic record.” See Exhibit 36.

On or about November 31, 2015, Lin emailed to Barlow and/or Sonya Livshits an
expense report which fraudulently stated that his personal expenses on Fossa’s
account were for business purposes. See Exhibit 40. Furthermore, even some of
those expenses which were purportedly for Fossa’s business and warehouse and
did actually originally appear in Fossa’s warehouse, later disappeared from the
warehouse without explanation. Lin entered the warehouse and took those items
for Defendants’ use and has not returned them.

Each Conspirator knew, expected, reasonably foresaw and intended that the

facilities of wire communications would be used in furtherance of the racketeering scheme and

that such use was an essential part of the scheme.

Monetary Transactions in Property Derived from Specified Unlawful Activity,

164.

Violations of 18 U.S.C. § 1957

The conspirators knowingly engaged in monetary transactions involving property

valued at greater than $10,000, with the knowledge that the property involved was derived

through wire fraud in violation of 18 U.S.C. § 1343.

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165. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1957. The total number of such unlawful transactions committed by the enterprise is
unknown to Plaintiffs at this time.

166. Plaintiffs only have access to certain of BrandIntent’s bank account records,
which themselves show hundreds of transactions that could not possibly be Fossa-related
business expenses, but only personal expenses or expenses related to other business. Plaintiffs
believe that Defendants may have further documents showing even further use of the monies
derived from their unlawful activities.

Laundering of Monetary Instruments, Violations of 18 U.S.C. § 1956

167. The Conspirators, knowing that the property involved in the financial transactions
represented the proceeds of some form of unlawful activity, conducted or attempted to conduct
such transactions with the intent to promote the carrying on of wire fraud in violation of 18
U.S.C. § 1343, or knowing that the transaction was designed in whole or in part to conceal or
disguise the nature, location, ownership or control of the proceedings of wire fraud in violation
of 18 U.S.C. § 1343.

168. The Conspirators engaged in numerous monetary transactions in violation of 18
U.S.C. § 1956. The total number and value of such unlawful transactions committed by the
enterprise is unknown to Plaintiffs at this time.

Pattern of Racketeering Activity

169. The aforesaid acts had the same or similar purposes, results, participants, victims
and/or methods of commission, and were otherwise interrelated by distinguished characteristics

and were not isolated events. The pattern of racketeering activity engaged in by the Conspirators

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consisted of a scheme executed by the aforementioned participants beginning on or before May

of 2013 and continuing to date. That pattern included the multiple predicate acts alleged herein.

170. The Conspirators participated in the scheme through themselves, the participants
identified herein, and others whose identities are unknown to Plaintiffs at this time.

171. Each Conspirator’s participation was essential to the racketeering scheme.

172. The precise role played by each Conspirator is unknown to Plaintiffs at this time
because evidence concerning the full extent of their participation exists exclusively within their
possession and knowledge.

173. Plaintiffs have been injured in their business or property as a direct and proximate
result of the violation of 18 U.S.C. § 1962(c).

174. By reason of this violation of 18 U.S.C. § 1962(c), Plaintiffs are entitled to
recover three times their damages plus interest, costs and attorneys’ fees.

COUNT X

RICO Conspiracy, 18 U.S.C. § 1962(d
Plaintiffs against Defendants

175. Plaintiffs repeat, re-allege and incorporate each and every allegation listed in the
preceding paragraphs as if set forth herein.

176. In violation of 18 U.S.C. § 1963(d), Defendants and other Conspirators conspired
to violate the provisions of 18 U.S.C. § 1962(c) in that, beginning in 2013 or earlier, and
continuing to the present, they knowingly agreed and conspired to conduct or participate, directly
or indirectly, in the affairs of an enterprise through the pattern of racketeering activity described
above. The volume and frequency of the transaction and the continuance of the scheme alleged
herein for over a year could not have occurred without the consent and knowing connivance of

Defendants and the other Conspirators.

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177. As part of and in furtherance of the conspiracy, Defendants agreed to and
conspired in the commission of the predicate acts alleged above, with the knowledge that they
were in furtherance of that pattern of racketeering activity.

178. As part of and in furtherance of their conspiracy, Defendants agreed to and did
commit at least two predicate acts of racketeering.

179. None of the Conspirators has withdrawn or otherwise disassociated himself or
herself from the conspiracy alleged herein.

180. Plaintiffs have been injured in their business and/or property as a direct and
proximate result of the violations of 18 U.S.C. § 1962(d).

181. By reason of these violations of 18 U.S.C. § 1962(d), Plaintiffs are entitled to

recover three times their damages plus interest, costs and attorneys’ fees.

REQUESTED RELIEF

WHEREFORE, Plaintiffs pray that this honorable court will award the following:

A. Enter judgment for Plaintiffs on all Counts of their Complaint;

B. Award Plaintiffs damages and losses as determined at trial, including, without
limitation, actual damages, consequential damages, punitive damages, attorneys’ fees, multiple
damages, interest and costs as provided by law;

C. An order for Defendants to provide a full accounting of their assets and finances
from January 2013 through the present, or for such period as the Court may direct;

D. Award Plaintiffs compensatory damages, treble damages, attorneys’ fees and
costs pursuant to 18 U.S.C. § 1962; and

E. Grant Plaintiffs such other relief as the Court deems just.

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PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL ISSUES

Respectfully submitted,
The Plaintiffs,

Fossa Ltd.,
IcelandicPLUS LLC and

Joe D. Gurvits (BBO# 643572)
el: (617) 928-1804

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Matthew Shayefar (BBO# 685927)
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825 Beacon Street, Suite 20
Newton Centre, MA 02459
Fax: (617) 928-1802

Dated: August 31, 2016

| HEREBY ATTEST AND CERTIFY ONT

Sept. 27, 2016 tuatme
FOREGOING DOCUMENT IS A FULL, |
TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE

SUFFOLK SUPERIOR CIVIL COURT
DEPARTMENT OF THE TRA

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Transaction Details
Prepared for

Steven Barlow
Account Number

Sener apptatnte cru mapatessesrde ait kh ras

Dates ae $ Pee cee : es Aro unE
Oct 11 2013 ENCOMPASS COMMUNICAT617-733-2796 Steven Barlow $8,500.00
Nov 06 2013 ENCOMPASS COMMUNICAT617-733-2795 Steven Barlow $10,000.00

Nov 21 2013 ENCOMPASS COMMUNICAT617-733-2796 Steven Barlow $15,000.00

ah
Mar 21 2014 COMPASS COMMUNICAT617-733-2796 Steven Bariow $10,000.00
Apr 01 2014 ENCOMPASS COMMUNICAT617-733-2788 Steven Barlow $7,000.00

Pay In Full Charges $68,700.00
Pay Over Time Charges $0.00
Credits $0.00

Total $68,700.00
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C
HTX

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From: {jianlin07 <ijianlinoO? @amail,com>

Subject: Re: Funding

Date: September 2, 2014 at 3:10:16 PM EDT
To: stevebarlow<steve@barlow. >
Steve,

| transferred funds for the registration and filing for the branch office of Fossa in Iceland the
day | departed for Iceland as we had discussed prior. Without knowing the complexity of
the matter intimately lots of additional expenses were necessary as “on the spot” or "pay as
you go" during the visit here.

The extension and change of flight costs $1590 right away. All guesthouse were sold out
and shiran's office was not able to find hotel vacancy with their rates.

The flying in and out of isafjurdor was definitely not an expected item but due to timing it
was necessary instead of driving. Then the attorney costs, and the extension of stay maxed
out my card. Tomorrow i have rented a car for the visiting of the other slaughter houses as
well as hotel costs in Reykjavik (entire city sold out, only top 2 hotels are available but at a
premium rate). | estimate | will need $4450 to cover the rest of trip meeting and visiting
slaughter houses and initiate rentals for freezing container and transport. As well as the
deposit for the shop that's currently producing the products for our samples. That's
conservative and tight.

The cost for the labels for product update
| am in meeting now and will try to get you an estimate of operation expenses soon.
Please let me know. Thank you very much.

Sent from my iPhone
I Jian Lin

On Sep 2, 2014, at 3:04 PM, stevebarlow<steve@barlow.name> wrote:

Please send me an accounting of the expenses that you think we will need to fund over the
next few months so that | can prepare the funds.

Also, send me the expenses that you will run against the TD account. Also, after each TD
expense please send me an email for my records. .

We will discuss and work out the funds when you get back. We will need to work out a
payment plan that gets the funding back to me. Thanks.
Regards,

Steve
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WQTYXH
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From: | Jian Lin <ilin@brandintent.com>

Subject: expense to date from TD

Date: September 8, 2014 at 8:13:12 PM EDT

To: Steve Barlow <steve@barlow.name>, "sbarlow@murrfoods.com Barlow"

<sbarlow@murrfoods.com>

$3200 registration and filing

$1550 Attorney preparation in lsafjodur
$3000

- $1600 Ticket penalty

- $400 Bragi Gas and hotel

- $650 Additional 3 day Stay in Reykjavik
- $350. FLight from Isafjurdor (one way)

From TD

tdian Lin « Brandintent
President, Strategic + Creative Director
i ndintent.

yew. brandintent.com
(0) +1.978.255.4528 « (c) 617.733.2796
Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 44 of 208

From: | Jian Lin <jlin@fossaltd.com>
Subject: Catching up and budgetary planning
Date: January 22, 2015 at 4:00:07 PM EST

To: Steve Barlow <sbarlow@fossaltd.com>
Ce: | Jian Lin <ilin@fossaltd.com>, | Jian Lin <ilin@brandintent.com>

Steve,

Finally got a chance to go through the wires and expenses since our last meeting at your
house, | included the forecast and schedule from our last meeting on the bottom of the
email. The first listing are the transfers, wires and other expenses for this visit. There are
immediate expenses pending for us to complete the first shipment to the US, as well as
execute the setup for our own production. IT has been action packed since arrival, | am still
suffering form lack of sleep and the sleeping aid just simply stop working at this point. |
have extended another several days here in Reykjavik before | head back to Husavik to wrap
up the remaining tasks of the production facilities including the staffing.

Bragi is back on path after a Jong meeting with him. His part will be concluded this
weekend, we have formally requested the inspectors from MAST and municipality as well to
come and conduct certification next week. | had a great discussion with Omar about taking
on more responsibilities here as our business manager with increase in compensation. After
the factory set up Bragi will be phased out and down to minimum responsibility and
compensation,

i am negotiating with the container rental company to come to a discounted final billing
with us. | am hoping to arrive at the agreement of payment schedule and discounts.

ee

Please review the added status update in RED within the section from our last meeting.

Jan 6 - $324.44

Jan 7 - $1,982.11 (HOFN Slaughterhouse for December 2014 and Jan 2015)
Jani2 - $4000.00 Bragi

Jan 13 - $11,513.00 Hanna Hors

Jan 13 - $12,500.00 Final Oven, transport and Electrician work. $2000 minimum balance
requirement in account. To Fossa Enterprises ehf for direct payment

Jan 13 - $4650 First month rent ,Husavik. To Fossa Enterprises ehf for direct payment

Jan 15 - $1024.00 Hotels Akureyri, 4 nights, 4 breakfast. Lin
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Jan 15 - $577.16 Domestic Air to Akureyri

Jan 15 - $280.50 (DHL) US Custom and Import Security

Jan 20 - $228.58 Rub23, dinner with Simmi and Reynir. Nordlenska
Jan 20 - $ 315.66 (DHL) USDA/FDA

Jan 20 - $3247.66 ($1680 Return, 1335.60 Depart, $120 airport shuttle- logan, $112.06
Reykjavik)

Jan 21 - $566.18 Rental Car + Gas

Jan 21 - $575.76 Domestic Flight from Akureyri
Jan 21 - $288.99 Domestic Flight - Omar

Jan 21 - $315.66 Hotel. Akureyri - Omar

Jan 22 - $217.66 Hotel Charges Reykjavik (Arrival)
Jan 22 - $224.19 Hotel Charges Reykjavik (Arrival2)

Jan 22 - $304.19 Filing fees for MAST and MATIS (Icelandic Department of Agriculture for
Animal feeds and Food Safety and Analysis Laboratory)

Due Now

$ 3,812.15 Eimskip Cargo, Reykjavik to Portland.

$ 3000.00 (2 oven racks in stainless steel with high heat spec.)

$ 3600.00 For 4 sets of 12 shelves stainless steel perforated trays (48)

$ 4000.00 Omar

$ 1022.00 SKVH Hvammstangi JAN 2015

$ 981.00 Blonduos JAN 2015

$ 2315.00 Freight Forwarding and logistic services (License, permits, and USDA, US Custom
certifications)

$1686.58 Commercial Liability Insurance Policy

1) We will need to buy misc. cleaning supplies and chemicals, including pest control and
Anti-bacteria sprays. These can also be contracted out with the industrial cleaning company
which is bonded and insured. OR we do it ourself with the workers after hour at an added
costs.
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2) Packaging materials for finished products, blue wax-based plastic sheet, in rolls for lining
the cartons for moisture repelling measure. single pack food grade plastic bags to fit 200
horns per bag.

1 am waiting for the quotes to come in tomorrow.

From the last meeting:
Current Due:

1) Hanna: $11,513.00 PAID

2) Oven Installation and location electrical: $3490.13 50% PAID

3) Oven conversion and repair total: $4200 (estimated, including the additional
modifications on automation and remote monitoring) PAID,

4) Nordienska Hom collection and Electricity 9-11/14 $3,964.00

5) HOFN 11-12/14 $1982.11 PAID

6) Container Rental: Total balance with VAT: $12,383.95 (all locations 10-12/14, 3 months
minors previous payments/deposits) This will cover all containers up to date.

7) Facility rental of 3 months ($4628.00/month without insurance) PAID FIRST MONTH
8) Personnels: Bragi and Omar $8000.00 PAID $4000 Already

9) Freight Forwarding and logistic services (License, permits, and USDA, US Custom
certifications) $2315.00 See above for schedule, this is on the receiving end.

Forecast Upcoming:

1) Salaries (3 men, for 3 months) TBD when | am in Iceland. Hiring 3 men to train and
produce the horns

¢ Standard salary for "floor man” in the meat packing is $2400, supervisor or foreman is
$3000.

+ 30% on top for Contract worker agreement $7800 +30% = $10,140.00

2) Insurance : Waiting for quotes $1686.58 Full liability and equipments

3) Packaging + Commerce Website

4) Travel 3 Trips, Est. 7-10 days each $12000. (see above for itemized charges within this
estimate costs)

5) Storage/Warehousing Est. $6000. (four months)

6) Marrows and Bones from Hanna, Est. $10,to 15. depending on volume.

7) Shipping and Custom clearance: $ 3,812.15

8) Nordlendska Final electricity and labor $1850.00

9) SKVH Final electricy and Labor $1850.00 (DECEMBER+JAN)

10) Transportation for all container to Husavik: $3200.00 (Steve, this needs to happen next
week the latest to avoid charges from individual slaughter houses)

11) The Global Pet Expo in Orlando: March 2015: TBD (Recommend to have a suite and a
party. not a booth. not a good return.
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12) US Labor and workers for repacking the horns and marrows once arrived in the
warehouse: TBD

{Jian Lin + Fossa LTD/Fossa Enterprises, ehf

Executive Director / Founder

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iceland +1.354.848.7008
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From: I Jian Lin <ilin@fossaltd.com>
Subject: RE: XL update

Date: February 17, 2015 at 6:56:35 AM EST
To: stevebarlow<sbarlow@fossaltd.com>

Sieve, please note that from the most recent report, the payment to omar had been reduced to
$3000 plus $60 expenses. I budgeted $8000 for March for both was just to cover the expenses
since they will be traveling to Husavik frequently to check the operat I n as well as
manufacturing. I figured this is still check eager for me to go...even I will make two trips before
the end of process which was also budgeted in January 22 report. Next payment to them will be
$3000 base and expenses. Omar is less time consuming during th is coming month but bragi
needs to stay on top of the manufacturing due to QC and dry - matter spot check weekly to make
sure they will not rot in short time sure to moisture in the tip of horn and inside marrow (trapped
between skin and bone).

We are cutting all unnecessary expenses and costs as much as we could. I sent the rack and tray
fabricator an email to use thin aluminium tray bottom instead of stainless steel as per regulation,
but use stainless frames for them. This cuts cost. In addition, we will buy mixed size bags to
pack whenever manufacturer has left overs. This will slow down the packing process due to
measuring the weight and units for each bag before loading.

Staffing will be a problem but I can beg for more time in facility and pay for it vs. Two girls
added to the team. ,

Steve, please set aside time to meet in Boston, in addition to talk, we need to see the guy in NH
and toronto to excite the Chinese investors.

Driving to Main now, will update progress.

I Jian Lin * Fossa LTD

Executive Director/Founder

P.O.Box 801, The Valley, Anguilla, British West Indies Al-2640
llin@fossaitd.com

www.fossaltd.com
usa +1.617.733.2796

corneeen Original message --------

From: stevebarlow<sbarlow@fossaltd.com>
Date: 02/17/2015 12:26 AM (GMT-05:00)
To: IJIAN <jlin@fossaltd.com>

Subject: XL update

| Jian:

Here is the updated XL expenses to date. There are a few items that need more detail. We
can go over it tomorrow.
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America’s Most Convanient Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page: 5 of 6
Statement Period: Aug 0 2 31 2014
Cust Ref #
Primary Account #:
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION AMOUNT
8/18 DEBIT CARD PURCHASE, AUT 081514 VISA DDA PUR 10.02
SARKU JAPAN 050 BOSTON *MA
8/18 DEBIT CHASE, AUT 081714 VISA DDA PUR 9.00
7 THE JUICERY PORTSMOUTH *NH
8/18 DEBIT CARD PURCHASE, AUT 081614 VISA DDA PUR , 4.24

OLD NAVY 6194 NEWINGTON * NH

8/18 non - S 3.00

8/25 DEBIT CARD PURCHASE, AUT 082114 VISA DDA PUR 130.33
SHERATON TORONTO CAN

8/26 ant | 7 PURCHASE, AUT 082514 VISA DDA PUR’ 650.00

GUS BIKE SHOP LLC NORTH HAMPTON * NH

8/27 . DEB! SE, AUT 082514 VISA DDA PUR 590.00
KAIZEN a pe * BOXBOROUGH *MA :

8/28 DEB PURCHASE, AUT 082614 VISA DDA PUR 75.39
DURGIN PARK BO10328060 EBOSTON *MA

8/28 DEB. E, AUT 082614 VISA DDA PUR , 37.64
BROWN SUGAR BY THESEA NEWBURYPORT *MA

8/29 eal a PURCHASE, AUT 082814 VISA DDA PUR 320.36

a NATUR AKUREYRI ISL
8/29 DEBIT CARD PURCHASE, AUT 082714 VISA DDA PUR 214.00

RUB 23 AKUREYRI . ISL

8/29 DEBIT CARD PURCHASE, AUT 082714 VISA DDA PUR 80.43
VOX RESTAURANT REYKJAVIK ISL

8/29 DEB! P SE, AUT 082714 VISA DDA PUR 23.70
BISTRO ATLANTIC REYKJANESBER [SL

Subtotal: 4,807.30

DAILY BALANCE SUMMARY

DATE BALANCE DATE BALANCE
7/31 3,035.25 8/5 2,874.47
8/4 2,954.42 8/6 2,845.84

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Bank

ENCOMPASS COMMUNICATIONS INC Page: 10 of 14
Statement Period: Oct 01 2014-Oct 31 2014
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION . AMOUNT
10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 310.93
BLUE LAGOON BADSVADI GRINDAVIK ISL
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 258.02
HOTEL NATUR AKUREYRI ISL
10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR 243.26
TRAVELOCITY COM 877 270 4536 * WA .
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 19743
SJAVARGRILLID REYKJAVIK ISL
10/20 non ATM — AUT 101814 DDA WITHDRAW 168.46
KRINGLUNNI 8 10 RVIK REYKJAVIK ISL
10/20 DEBIT CARD PURCHASE, AUT 101714 VISA DDA PUR 114.76
REYKJAVIK FISH REYKJAVIK ISL
10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 108.72
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10/20 DEBIT CARD PURCHASE, AUT 101814 VISA DDA PUR $191
BLUE LAGOON VERSLUN GRINDAVIK. ISL -
10/20 DEBIT CARD PURCHASE, AUT 401814 VISA DDA PUR 66.03
BLUE LAGOON VERSLUN GRINDAVIK ISL
10220 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 51.15
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10/20 DEBIT CARD PURCHASE, AUT 101614 VISA DDA PUR 43.13
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SANDHOLT REYKJAVIK ISL
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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 61 of 208

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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 62 of 208

Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page: 3 of 10
. Statement Period: Novy 01 2014-Nov 30 2014
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Checks Paid No. Checks: 3 For ontino bill pay customers, checks numbored "99XXXX" likely represent pryments to & Biller chat wera

delivered as a paper check. Funds were withdrawn from your account when the check was cashed, You can view
thess cleared checks in the Account History section of Onlins Banking.

*Indicates break in serial seq or check p d electronically end listed under Electronic Payments .
DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT
11/10 1594 1,730.00 1194 1598 203.49
11/17 1595 5,600.00 11/21 1599 209.77
11/26 1597* 400.71
Subtotal: 8,143.97
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
118 CCD DEBIT, ACCT FEE INTUITPMTS 19.95
11/4 DEBIT CARD PURCHASE, AUT 110314 VISA DDA PUR 107.83
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EXXONMOBIL 97437339 NEWBURYPORT * MA
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_ ICELANDAIR 10835335724 REYKJAVIK ISL
a ,
11/6 ’ DEBIT CARD PURCHASE, AUT 110514 VISA DDA PUR 450.00
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Bank

America’s Mast Convenient Bank® STATEMENT OF ACCOUNT

ENCOMPASS COMMUNICATIONS INC Page: 15 of 20

Statement Period: Jul 0 31 2015
Cust Ref #:
Primary Account #:

DAILY ACCOUNT ACTIVITY

Electronic Payments (continued)

POSTING DATE DESCRIPTION AMOUNT

7/2) DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 110.63

BLACK COWTAP GRILL NEWBURYPORT * MA

72) DEBIT CARD —.. AUT 071915 VISA DDA PUR 62.32

STONEWALL CAFE 800826173 YORK *ME

Wy DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 50.00

. STARBUCKS CARD RELOAD 800 7827282 * WA

7/21 DEBIT CARD PURCHASE, AUT 071915 VISA DDA PUR 43.80
CORNERSTONE | OGUNQUIT *ME

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7/22 DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR 399.00
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7/22 DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR 384.00
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RISTORANTE MOLISE AMESBURY *MA

1122 DEBIT CARD PURCHASE, AUT 072015 VISA DDA PUR. 42.00
LEOS HOUSE OF PIZZA § NEWBURYPORT * MA

7/22 DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR , 18.94
SZECHUAN TASTE _ NEWBURYPORT *MA

7/22 DEBIT CARD PURCHASE, AUT 072115 VISA DDA PUR 18.00
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INCOMING FUNDS - STEVEN BARLOW s 3,200.00
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08/04/2014 INTUIT FEES $ 19.95
08/04/2014 FREEDDOM VOICE CENTER $ 10.94
08/05/2014 BIGCOMMERCE COM $ 79.95
08/06/2014 INTUIT QB CA $ 28.63
08/08/2014 BRINE NEWBURYPORT MA $ 108.10
08/11/2014 COMCAST CABLE COMM $ 347.84
08/11/2014 URBANOUTFITTERS URBANOUT NATICK $ 480.00
08/11/2014 BRAZO RESTAURANT PORTSMOUTH Nf $ 98.84
08/11/2014 KITTERY TRADING POST ME $ 95.00
08/11/2014 BROWN SUGAR BY THE SEA $ 46.59
08/11/2014 FOREVER 21 MA $ 44.40
08/11/2014 NORDSTROM 546 FRAMIGHAM MA $ 39.97
08/11/2014 SQ KELLIE BROOK FARM MA $ 12.50
08/11/2014 SQ ATOMIC CAFE MA $ 5,03
08/12/2014 PURCH W/CB AMESBURY MA $ 163.72
08/12/2014 KITTERY POINT ME $ 72.64
08/12/2014 STARBUCKS NEWTON MA $ 7.38
08/13/2014 NORDSTROM 0531 NATICK MA $ 58.21
08/13/2014 PRO CUT FRAMIGHAM MA $ 20.95
08/14/2014 LIL S CAFE KITTERY ME $ 16.15
08/15/2014 RALLYSPORT DIRECT UT $ 209.04
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08/15/2014 NORDSTROM 497BOYLST BOSTON MA $ 48,09
08/15/2014 KANTIN BOSTON MA $ 28.10
08/18/2014 ELECTRONIC PMT-TEL, ACHIVR VISB BIi $ 610.62
08/18/2014 WITHDRAW PORTSMOUTH NH $ 62.50
08/18/2014 BOSTON COMMON PARK MA $ 28.00
08/18/2014 OLD NAVY USA NEWINGTON NM $ 25.00
08/18/2014 CHERRY BLOSSOM ASHLAND MA $ 20,00

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08/18/2014 MORNING BUZZ CAFE MA $ 18.67
08/18/2014 KELLIE BROOK FARM MA $ 12.50
08/18/2014 SARKU JAPAN 050 BOSTON MA $ 10.02
08/18/2014 THE JUICERY PORTSMOUTH NH $ 9.00
08/18/2014 OLD NAVY NEWINGTON NH 5 4.24
08/25/2014 NONTD ATM FEE $ 3.00
08/25/2014 SHERATON TORONTO $ 130.33
08/26/2014 GUS BIKE SHOP NORTH HAMPTON NH  $ 650.00
08/26/2014 KAIZEN TUNING BOXBOROUGH MA $ 590.00
08/28/2014 DURGIN PARK BOSTON MA $ 75.39
08/28/2014 BROWN SUGAR BY THE SEA MA $ 37.64
Total PERSONAL $ 4,168.81
September

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW $ 28,170.02
USAGE OF FUNDS

Fossa Business S 16,813.87
Clearly Personal S 12,252.26
Unable to determine S 12,500.87
TOTAL USAGE OF FUNDS $ 41,567.00
09/02/2014 CHECK #1584 $ 2,800.00
09/02/2014 AMICA MUTUAL INS $ 203.92
09/02/2014 INTUIT ACCT FEE $ 49.95
09/03/2014 BIGCOMMERCE COM TX $ 79.95
09/03/2014 LITIL 1 UPPHAFI ISL - TOYS STORE $ 63.05
09/03/2014 VOC ICONTACTEMAIL MD $ 49,94
09/03/2014 FREEDOM VOICE SYSTEMS CA $ 10.94
09/05/2014 LAUGAVEGUR 26 REYKJAVIK ISL - TOUF $ 86.73
09/05/2014 AROUND ICELAND ISL - TOURIST ATTRE $ 32.47
09/08/2014 VZWRLSS IVR VB GA $ 444.82
09/08/2014 PORTSMOUTH SAKE RESTARA NH $ 54.11
09/08/2014 WAL WAL MART SUPER 642 SEABROOK $ 43.56
09/08/2014 PETSMART SEABROOK NH $ 31.98
09/08/2014 INTUIT QB ONLINE CA $ 28.63
09/08/2014 SQ THE JUICERY NH $ 22.96
09/08/2014 SQ KELLIE BROOK FARM MA $ 12.50
09/08/2014 CHOCOCOA BAKING CO MA $ 11.09
09/08/2014 STARBUCKS 07329 NEWBURY MA $ 6.85

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09/08/2014 CITY OF PORTSMOUTH NH $ 4.00
09/09/2014 PAPA WHEELIES PORTSMOUTH NH $ 1,225.00
09/09/2014 AGAVE MEXICAN BISTRO MA $ 64.44
09/09/2014 DUTY FREE STORE ISL $ 61.73
09/09/2014 WAL WAL MART STORE FRAMIGHAM M/ $ 41.21
09/09/2014 ANGIES FOOD DINER MA $ 29.34
09/09/2014 SHUN FENG SEABROOK NH $ 21.47
09/09/2014 OLFY 149 NEWBURYPORT MA $ 19.25
09/10/2014 SICHUAN GOURMET FRAMIGHAM MA $ 68.80
09/10/2014 WHOLEFDS FRA FRAMIGHAM MA 3 63.65
09/10/2014 KITCHEN SPIRITS MA $ 63.23
09/10/2014 SHELL OIL NEWBURYPORT MA $ 40.22
09/10/2014 STAPLES INC SEABROOK NH $ 31.48
09/10/2014 POLKA DOG BAKERY MA $ 27.65
09/11/2014 ANNEKE JANS KITTERY ME $ 101.48
09/11/2014 TARGET HAVERHILL MA $ 65.92
09/11/2014 PRO CUT FRAMIGHAM MA $ 33.95
09/11/2014 STOP SHOP AMESBURY MA $ 30.38
09/11/2014 MORNING BUZZ CAFE AMESBURY MA $ 26.69
09/11/2014 SQ THE JUICERY PORTSMOUTH NH $ 18.50
09/11/2014 DUNKIN 304921 NEWBURYPORT MA $ 3.88
09/12/2014 GUS BIKE SHOP NORTH HAMPTON NH_ $ 2,269.94
09/12/2014 EXXONMOBIL AMESBURY MA $ 53.75
09/12/2014 SHAWSHEEN LUNCHEONETTE ANDOVE $ 25.55
09/12/2014 MORNING BUZZ CAFE AMESBURY MA $ 20.46
09/15/2014 SHABU ZEN ALLSTON MA $ 232.55
09/15/2014 NIXS NEWBURYPORT MA $ 76.34
09/15/2014 EXXONMOBIL PORTSMOUTH NH $ 53.19
09/15/2014 MORNING BUZZ CAFE AMESBURY MA $ 49.06
09/15/2014 THE GROG RESTAURANT NEWBURYPO § 46.81
09/15/2014 RIVERSIDE CYCLES NEWBURYPORT Mé $ 44.99
09/15/2014 BROWN SUGAR BY THE SEA NEWBURY $ 42.38
09/15/2014 CVS 01871 FRAMIGHAM MA $ 33.21
09/15/2014 FM STATION CAFE NEWBURYPORT MA $ 26.03
09/15/2014 PAPA WHEELIES PORTMOUTH NH $ 25.00
09/15/2014 PIZZA FACTORY AMESBURY MA $ 24.30
09/15/2014 SQ THE JUICERY PORTSMOUTH NH $ 16.00
09/15/2014 CVS 00361 BOSTON MA $ 14.96
09/15/2014 SQ ATOMIC CAFE NEWBUR MA $ 14.67
09/15/2014 CITY OF PORTSMOUTH NH $ 2.00
09/15/2014 ITUNES - CREDIT $ (0.69)
09/16/2014 ANJU KITTERRY POINT ME $ 108.96
09/16/2014 THE GROG RESTAURANT NEWBURYPO $ 81.65
09/16/2014 RIVERSIDE CYCLES NEWBURYPORT M $ 65.84

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09/16/2014 MORNING BUZZ CAFE $ 28.66
09/16/2014 STARBUCKS SAUGUS MA $ 7.80
09/17/2014 SHAW MARKET NEWBURYPORT MA $ 82.13
09/17/2014 MANDARIN WESTBOROUGH MA $ 60.95
09/17/2014 LAFAYETTE GARAGE BOSTON MA $ 34.00
09/18/2014 SOU BEST BUY NEWINGTON NH $ 169.98
09/18/2014 PETMART SEABROOK NH $ 59.97
09/18/2014 EXXONMOBIL AMESBURY MA $ 51.44
09/18/2014 DICK CLOTHING SPORTING NEWINGTOI $ 29.98
09/18/2014 FM STATION CAFE NEWBURYPORT MA $ 21.82
09/18/2014 EXXONMOBIL AMESBURY MA 3 10.13
09/48/2014 SQ ATOMIC CAFE NEWBURYPORT MA $ 8.59
09/19/2014 CVS AMESBURY MA $ 146.11
09/19/2014 RIVERSIDE CYCLES NEWBURYPORT Mé $ 63.74
09/19/2014 HANA JAPAN RESTAURANT MA $ 59.67
09/19/2014 THE GROG RESTAURANT NEWBURYPO $ 55.49
09/19/2014 CVS PHARMACY NEWBURYPORT MA $ 35.04
09/19/2014 FM STATION CAFE NEWBURYPORT MA $ 28.83
09/19/2014 COLBY FARM NEWBURY MA $ 27.92
09/19/2014 APL ITUNES COM BILL CA $ 11.99
09/19/2014 USPS COM DC $ 11.30
09/19/2014 CHOCOCOA BAKING MA $ 7.61
09/22/2014 WITHDRAW BANK OF TAIWAN $ 661.97
09/22/2014 RISTORENTE MOLISE AMESBURY MA $ 148.26
09/22/2014 HANA JAPAN RESTAURANT MA $ 83.04
09/22/2014 LEGAL SEA FOOD EAST BOSTONMA ss $ 64.41
09/22/2014 NAILS NEWBURYPORT MA $ 60.00
09/22/2014 NEWSLINK BOSTON MA $ 50.51
09/22/2014 GULF OIL LYNNFIELD MA $ 39.44
09/22/2014 NEW ENGLAND CLEANE AMESBURY MA $ 38.70
09/22/2014 NEWSLINK BOSTON MA $ 31.92
09/22/2014 PIZZA FACTORY AMESBURY MA $ 22.00
09/22/2014 USPS COM DC $ 5.25
09/22/2014 NONTD ATM FEE $ 3.00
09/23/2014 TAIWAN HIGH SPEED RAIL TWN 3 254.34
09/23/2014 AMI AMICA INSURANCE RI $ 203.92
09/23/2014 TATSUKICHI NARITA JPN $ 29.45
09/25/2014 CHUNG SHEN 04328 KAOHSIUNG CIT TV $ 120.23
09/25/2014 OVERDRAFT RET $ 35.00
09/30/2014 MAINTENANCE FEE $ 15.00

Total PERSONAL $ 12,252.26

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October
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 36,267.07
USAGE OF FUNDS
Fossa Business S 22,974.40
Clearly Personal S 11,077.24
Unable to determine $ 4,666.93
TOTAL USAGE OF FUNDS s 38,718.57
10/01/2014 VZWRLSS IVR VB GA $ 420.72
10/01/2014 INTUIT ACCT FEE INTUIPMTS $ 19.95
10/01/2014 APL ITUNES COM BILL CA $ 4.05
10/01/2014 APL ITUNES COM BILL CA $ 1.05
10/02/2014 TARTUFO RISTORANTE NEWTON MA = $ 147.33
10/02/2014 ATLANTA GOR T WN $ 74.57
10/02/2014 WATERWORKS BAR DETROIT MI $ 54.09
10/02/2014 VOC ICONTACTEMAIL MKT SV MD $ 49.94
10/03/2014 TJ TJ MAXX SEABROOK NH $ 191.94
10/03/2014 BIGCOMMERCE COM TX $ 79.95
10/03/2014 TATSUKICHI NARITA J PN $ 53.67
10/03/2014 SHUN FENG SEABROOK NH $ 31.62
10/03/2014 NNT KMART NEWBURYPORT MA $ 21.24
10/06/2014 NATIONALGRID SYRACUSE NY $ 547.13
10/06/2014 NNT CELLULAR SEABROOK NH $ 304.98
10/06/2014 KITTERY TRADING POST ME $ 174.05
10/06/2014 CREW FACTORY STORE KITTERY ME $ 129.50
10/06/2014 THE GROG RESTAURANT NEWBURYPC $ 87.10
40/06/2014 LOTUS FLOWER FRAMIGHAM MA $ 58.01
10/06/2014 KITTERY TRADING POST KITTERY ME $ 48.49
10/06/2014 HANA JAPAN RESTAURANT MA $ 41.92
10/06/2014 GULF OIL NATICK MA $ 39.27
10/06/2014 PRO CUT FRAMIGHAM MA $ 35.95
10/06/2014 JOHNNY S LUNCHEONETTE NEWTON M $ 31.39
10/06/2014 BROWN SUGAR BY THE SEA NEWBUR) $ 29.61
10/06/2014 INTUIT QB ONLINE CA $ 28.63
10/06/2014 CVS AMESBURY MA $ 27.70
10/06/2014 MORNING BUZZ CAFE MA $ 23.99
10/06/2014 SQ KELLIE BROOK FARM NEWBURYPO $ 12.50
10/06/2014 LIL S CAFE KITTERY ME $ 12.37

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10/06/2014 FREEEDOM VOICE SYSTEMS CA $ 10.92
10/06/2014 KITTERY TRADING POST KITTERY ME $ 8.43
10/06/2014 CHOCOCOA BAKING NEWBURYPORT I $ 7.94
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 7.46
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 7.46
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 5.51
10/06/2014 ATOMIC CAFE NEWBURYPORT MA $ 4.26
10/06/2014 APL ITUNES COM BILL $ 3.18
10/07/2014 ANJU KITTERY POINT ME $ 71.56
10/07/2014 USPS NEWBURYPORT MA $ 46.00
10/07/2014 SBARRO EAST BOSTON MA $ 29.37
10/07/2014 MORNING BUZZ CAFE MA $ 25.75
10/07/2014 JOPPA FINE FOODS MA $ 10.95
10/08/2014 DURGINPARK E BOSTON MA $ 56.00
10/08/2014 NONTD ATM FEE $ 3.00
10/08/2014 NONTD ATM FEE $ 3.00
10/14/2014 CHECK #1592 $ 2,800.00
10/14/2014 HAGKAUP AKUREYRI REYKJAVIK ISL -! $ 20.86
10/14/2014 ZEBRA OG REYKJAVIK ISL - COSMETIC $ 9.34
10/14/2014 APL ITUNES COM BILL CA $ 5.30
10/15/2014 VERIZON WRLS MYACCT VN CA $ 242.02
10/16/2014 SPARK DESIGN SPACE REYKJAVIK ISL $ 221.60
10/20/2014 BLUE LAGOON BADSVADI GRINDAVIK IS $ 310.93
10/20/2014 KRINGLUNNI REYKJAVIK ISL - SHOPPIN $ 168.46
10/20/2014 BLUE LAGOON VERSLUN GRINDAVIK IS $ 81.91
10/20/2014 BLUE LAGOON VERSLUN GRINDAVIK IS $ 66.03
10/20/2014 REYKJAVIK BACKPACKERS REYKJAVI $ 38.87
10/20/2014 PUBLIX MIAMI FL $ 38.12
10/20/2014 HAGRAUP AKUREYRI REYKJAVIK ISL -< $ 41.31
10/20/2014 PUBLIX MIAMI FL $ 6.10
10/20/2014 NONTD ATM FEE $ 3.00
10/20/2014 CITY OF MIAMI BEACH PARK FL $ 2.20
10/21/2014 STARBUCKS PICKERING C AN $ 359.30
10/21/2014 STARBUCKS TORONTO C AN $ 357.90
10/21/2014 STARBUCKS TORONTO C AN $ 355.61
10/21/2014 STARBUCKS TORONTO C AN $ 355.61
10/21/2014 STARBUCKS TORONTO C AN $ 355.61
10/27/2014 BARBOUR WAREHOUSE STORE KITTER $ 348.14
10/27/2014 CEIA KITCEN AND BAR NEWBURYPORT $ 206.56
10/27/2014 COLE HAAN KITTERY KITTERY ME $ 146.65
10/27/2014 CREW FACTORY STORE KITTERY ME $ 110.55
10/27/2014 33 LOW STREET NEWBURYPORT MA $ 60.00
10/27/2014 KITTERY FACTORY ST KITTERY ME $ 58.01
10/27/2014 TARGET DANVERS MA $ 56.99

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10/27/2014 STATION CAFE NEWBURYPORT MA $ 47.11
10/27/2014 FORMOSA FRAMIGHAM MA $ 41.96
10/27/2014 AUTOZONE SEABROOK NH $ 33.98
40/27/2014 SHELL OIL NEWBURYPORT MA $ 26.05
10/27/2014 WIRE - ASAHI ENTERPRISES CORP - Bik $ 1,705.47
10/28/2014 ANJU KITTERY POINT ME $ 57.68
10/28/2014 ANGIES FOOD DINER NEWBURYPORT h $ 38.62
10/28/2014 COMCAST CABLE COMM COMCAST MA $ 305.88
40/28/2014 TJ TJ MAXX SEABROOK NH $ 102.42
10/29/2014 SUNOCO NEWBURYPORT MA $ 43.08
10/29/2014 STATION CAFE NEWBURYPORTMA = $ 35.92
10/29/2014 MARSHALLS MARSHALLS NEWBURYPC $ 31.73
10/29/2014 SHUN FENG SEABROOK NH $ 30.37
10/30/2014 COMCAST CABLE COM COMCAST MA $ 244.35
10/30/2014 MICHAEL HARBORS! NEWBURYPORT M. $ 73.53
10/30/2014 CHOCOCOA BAKING NEWBURYPORT M. $ 447
10/30/2014 CHILI S SEABROOK SEABROOK NH $ 70,29
10/31/2014 BRINE OYSTER NEWBURYPORT MA — $ 67.32
10/31/2014 MORNING BUZZ CAFE AMESBURY MA $ 50.03
10/31/2014 NNU XFINITYWIFI TX $ 19.95
10/31/2014 CREDIT- VISA TEMP $ (1,830.45)
Total PERSONAL $ 11,077.24
November
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW $ 20,951.03
USAGE OF FUNDS
Fossa Business S 8,704.55
Clearly Personal S 10,031.73
Unable to determine S 3,326.79
TOTAL USAGE OF FUNDS 5 22,063.07
11/03/2014 ACCT FEE INTUITPMTS $ 19.95
11/04/2014 WEATHERVANE SEAFOOD REST KITTEF $ 107.83
11/04/2014 SOU BEST BUY NEWINGTON NH $ 99.99
11/04/2014 BARNESNOBLE GOSLING EWINGTON NI $ 30.39
11/04/2014 BARNESNOBLE GOSLING EWINGTON Ni $ 7.90
11/05/2014 ALE HOUSE AMESBURY MA $ 63.12
41/05/2014 EXXONMOBIL NEWBURYPORT MA 5 51.28

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11/05/2014 STATION CAFE NEWBURYPORT MA $ 25.91
11/05/2014 ATOMIC CAFE NEWBURYPORT MA $ 11.65
11/05/2014 CITY OF PORTSMOUTH NH $ 3.00
11/06/2014 AMI AMICA INSURANCE LINCOLN RI 3 201.92
11/06/2014 PORTSMOUTH BREWERY PORTSMOU $ 70,54
11/06/2014 STARBUCKS SAUGUS MA $ 13.98
11/06/2014 CREDIT - XFINITY $ (8.55)
11/07/2014 WITHDRAW 51 STATE STREET NEWBUI $ 300.00
11/07/2014 OLD NAVY NEWINGTON NM $ 55.41
11/07/2014 STAPLES NEWINGTON NH $ 21.98
11/07/2014 TRADER JOE S NEWINGTON NH $ 12.57
11/07/2014 CHOCOCOA BAKING NEWBURYPORT WN $ 2.68
11/10/2014 HARBORSIDE EAST BOSTON MA $ 502.50
11/10/2014 CVS AMESBURY MA $ 146.11
11/10/2014 LOTUS FLOWER FRAMIGHAM MA $ 108.32
11/10/2014 BIGCOMMERCE COM TX $ 79.95
11/10/2014 CHINA STAR LOWELL MA $ 76.50
11/10/2014 BROWN SUGAR BY THE SEA NEWBUR\ $ 48.20
11/10/2014 CVS AMESBURY MA $ 44.08
11/10/2014 SHELL OIL NEWBURYPORT MA $ 39.41
11/10/2014 PRO CUT FRAMINGHAM MA $ 35.95
11/10/2014 CIRCLE K AMESBURY MA $ 32.45
11/10/2014 AMAZON COM SEATTLE WA $ 30.99
11/10/2014 NORDSTROM NATICK MA $ 27.63
11/10/2014 SZECHUAN TASTE NEWBURYPORT MA $ 26.42
11/10/2014 SHUN FENG SEABROOK NH $ 26.23
1110/2014 CVS AMESBURY MA $ 17.45
11/10/2014 FREEDOM VOICE SYSTEMS CA $ 10.92
11/10/2014 STARBUCKS PEABODY MA $ 9.35
11/10/2014 ATOMIC CAFE NEWBURYPORT MA $ 7.46
11/10/2014 NONTD ATM FEE $ 3.00
11/12/2014 DURGIN PARK EAST BOSTON MA $ 74.37
11/17/2014 CHECK #1595 $ 5,600.00
11/17/2014 GUERRERO ACTON MA $ 95.00
11/17/2014 RISTORANTE MOLISE AMESBURY MA $ 77.88
11/17/2014 RADIOSHACK COR SEBROOK NH $ 57.98
11/17/2014 CIRCLE K SEABROOK NH $ 40.16
11/17/2014 BARNESNOBLE 45 GOSLING EWINGTON $ 38.57
11/17/2014 SHUN FENG SEABROOK NH $ 30.10
11/17/2014 USPS AMESBURY MA $ 16.95
11/17/2014 GUERRERO ACTON MA $ 5.00
11/17/2014 CREDIT - SQ GUERRERO ACTON $ (5.00)
11/18/2014 HREYFILL REYKJAVIK ISL TOURIST TOL $ 92.78
11/19/2014 MARSHALLS MARSHALLS NEWBURYP(C $ 297.48

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11/19/2014 WALMART SEABROOK NH $ 64.68
11/19/2014 CIRCLE AMESBURY MA $ 30.31
11/19/2014 MORNING BUZZ CAFE AMESBURY MA $ 29.58
11/19/2014 SHUN FENG SEABROOK NH $ 29.07
11/19/2014 PETSMART SEABROOK NH $ 9.99
11/20/2014 MICHAEL HARBORSI NEWBURYPORT Nv $ 122.86
11/20/2014 NAILS NEWBURYPORT MA $ 53.00
11/20/2014 ANGIES FOOD DINER NEWBURYPORT $ 28.73
11/20/2014 ATOMIC CAFE NEWBURYPORT MA $ 4.60
11/21/2014 VZWRLSS IVR GA $ 200.00
11/21/2014 WITHDRAW BANK SINOPAC TWN $ 129.50
11/21/2014 PHILLIPS SEA FOOD BOSTON MA $ 16.04
11/21/2014 NONTD ATM FEE $ 3.00
11/24/2014 TAIWAN HIGH SPEED RAIL TWN $ 94.25
11/24/2014 MOVEMBER CHARITY CA $ 50.00
11/24/2014 FRESH CITY RAST BOSTON MA $ 22.40
11/24/2014 NARITA AIRPORT TERMINAL CHIBA JPN $ 7.16
11/24/2014 STARBUCKS EAST BOSTON MA $ 5.46
11/24/2014 DUNKIN BOSTON MA $ 2.29
11/26/2014 TATSUKICHI NARITA JPN $ 22.07
41/26/2014 TATSUKICHI NARITA JPN $ 3.40
11/28/2014 CHEERFUL FASHION GOODS KAOHSIUb $ 287.21
11/28/2014 CHEERFUL FASHION GOODS KAOHSIUb $ 32.39
Total PERSONAL $ 70,031.73 |
December
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 27,655.97
USAGE OF FUNDS
Fossa Business S 10,168.23
Clearly Personal S 7,906.01
Unable to determine S 9,667.04
TOTAL USAGE OF FUNDS S 27,741.28
12/01/2014 VZWRLSS IVR VN NJ $ 537.32
12/01/2014 THE ORVIS CO ME $ 189.91
12/01/2014 WEATHERVANE SEAFOOD REST KITTEF $ 63.18
12/01/2014 THE GROG RESTAURANT NEWBURYPO $ 60.69
12/01/2014 CIRCLE SEABROOK NH $ 36.28

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12/02/2014 TATSUKICHI NARITA JPN $ 28.84
12/02/2014 CCD DEBIT ACCT FEE INTUITPMTS $ 19.95
12/03/2014 VOC ICONTACTEMALL MD $ 99.88
12/03/2014 BIGCOMMERCE COM TX $ 79.95
12/03/2014 BARNESNOBLE GOSLING EWINGTON NI $ 63.80
12/03/2014 PETSMART SEABROOK NH $ 32.98
12/03/2014 SOU BEST BUY NEWINGTON NH $ 19.99
12/03/2014 OLD NAVY NEWINGTON NH $ 10.00
12/04/2014 VZWRLSS IVR VB GA $ 200.00
12/04/2014 SHUN FENG SEABROOK NH $ 30.16
12/04/2014 CIRCLE K SEABROOK NH $ "30,00
12/04/2014 FREEDOM VOICE SYSTEM CA $ 10.86
12/05/2014 BARNES NOBLE NEWINGTON NH $ 6.92
12/08/2014 AGAVE MEXICAN BISTRO NEWBURYPOI $ 50.82
12/08/2014 CIRCLE AMESBURY MA $ 33.28
12/09/2014 USPS COM DC $ 55.00
12/09/2014 MORNING BUZZ CAFE AMESBURY MA $ 21.78
12/09/2014 SBARRO EAST BOSTON MA $ 17.83
42/09/2014 USPS COM DC $ 11.30
12/09/2014 APL ITUNES COM BILL CA $ 10.89
12/10/2014 VZWRLSS IVR VB GA $ 200.00
12/10/2014 VZWRLSS IVR VN NJ $ 150.00
12/10/2014 STARBUCKS TERM EAST BOSTON MA $ 10.81
12/15/2014 GAGA REYKJAVIK ISL $ 158.57
12/15/2014 CHECK #1603 $ 2,800.00
12/15/2014 RELAY RED CANOE EDMONTONC AN $ 7.44
12/15/2014 NONTD ATM FEE $ 3.00
12/15/2014 NONTD ATM FEE $ 3.00
12/15/2014 NONTD ATM FEE $ 3.00
12/16/2014 DUTY FREE STORE REYJANESBER ISL $ 64.55
12/16/2014 LONDON DRUGS VANCOUVER C AN $ 17.36
12/17/2014 RUDSAK VANCOUVER CAN $ 72.38
42/18/2014 VZWRLSS IVR VB GA $ 244.24
42/18/2014 VANCOUVER NEWS RICHMOND CAN $ 3.62
12/22/2014 BASSLER VETERINARY HOSP! SALISBU $ 365.60
12/22/2014 COACH KITTERY ME $ 227.86
12/22/2014 ALDO US BURLINGTON MA $ 91.98
12/22/2014 THE GROG RESTAURANT NEWBURYPO $ 61.29
12/22/2014 VAN HEUSEN RETAIL DIV KITTERY ME $ 27.01
12/23/2014 APPLE STORE BURLINGTON MA $ 73.31
12/26/2014 WAL MART SEABROOK NH $ 26.84
12/29/2014 PAYPAL TOTALCYCLIN G BR $ 385.21
12/29/2014 CHINA STAR LOWELL MA $ 121.49
12/29/2014 VZWRLSS IVR VN NJ $ 100.00

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12/29/2014 NORTH MANHELM ROSEMONT IL
12/29/2014 BREAKFAST CLUB ALLSTON MA
12/29/2014 CIRCLE K AMESBURY MA
12/29/2014 SHUN FENG SEABROOK NH
12/29/2014 PEET CAMBRIDGE MA
12/29/2014 CAFENATION BRIGHTON MA
12/29/2014 DUNKIN AMESBURY MA 4.26
12/29/2014 NONTD ATM FEE 3.00

$ 64.00
$
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12/30/2014 AUTOZONE LAFAY SEABROOK NH $ 208.98
$
$
$
$
$
$
$

30.43
25.51
17.71
15.64

7.00

12/30/2014 WAL MART SEABROOK NH 84.08
12/30/2014 SZECHUAN TASTE NEWBURYPORT MA 29.63
12/30/2014 ROGERS REDLINER PORTSMOUTH NH 27.06
12/30/2014 OVERDRAFT FEE 175.00
12/31/2014 NATIONALGRID SYRACUSE NY 260.44
12/31/2014 MAINTENANCE FEE 15.00
Total PERSONAL 7,906.01

January

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW S 49,287.27
USAGE OF FUNDS

Fossa Business $ 37,339.17

Clearly Personal $ 9,233.91

Unable to determine 5 2,600.29
TOTAL USAGE OF FUNDS $ 49,173.37

301.62
162.86
84.37
62.58

01/02/2015 TEN ICHI NATICK MA $
01/02/2015 SHABU ZEN REST BOSTON MA $
01/02/2015 CRATE BARREL KITTERY ME $
01/02/2015 MANDARIN ORIENTAL FB BOSTON MA_$
01/02/2015 CALIFORNIA PIZZA BOSTON MA $ 52.85
01/02/2015 PRUDENTIAL CENTER GARA BOSTON WM $ 38.00
01/02/2015 TEN ICHI NATICK MA $ 35.50
01/02/2015 INTUIT PYMT ACCT FEE $ 35.00
01/02/2015 SHELL OIL PORTSMOUTH NH $ 32.97
01/02/2015 ANGIES FOOD DINER NEWBURYPORT Kh $ 28.80
01/02/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
01/02/2015 APL ITUNES COM BILL CA $ 10.61
01/02/2015 ATOMIC CAFE NEWBUR NEWBURYPOR’ $ 2.51

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01/05/2015 MICHAEL HARBORS! NEWBURYPORT M $ 135.70
01/05/2015 CHINATOWN BOSTON MA $ 103.00
01/05/2015 SHAW MARKET NEWBURYPORT MA $ 98.68
01/05/2015 BIGCOMMERCE COM TX $ 79.95
01/05/2015 PORTSMOUTH BREWERY PORTSMOUT $ 72.76
01/05/2015 ARMY BARRACKS S 30 BROAD SAUGUS $ 66.96
01/05/2015 VOC ICONTACTEMAIL MKT SV MD $ 49.94
01/05/2015 SUNOCOMFRAMIGHAM MA $ 29.29
01/05/2015 AMAZON COM BILL WA $ 23.71
01/05/2015 PETSMART SEABROOK NH $ 19.98
01/05/2015 NORDSTROM RACK 546 FRAMIGHAM M/ $ 18.43
01/05/2015 FREEDOM VOICE SYSTEM 2 CA $ 10.84
01/05/2015 NONTDAM ATM FEE $ 3.00
01/06/2015 TOWN FAIR TIRE SEABROOK NH $ 174.44
01/06/2015 SUNOCO PEABODY MA $ 37.59
01/06/2015 THE HOLLOW CAFE AMESBURY MA $ 31.02
01/06/2015 SHUN FENG SEABROOK NH $ 11.45
01/06/2015 CHOCOCOA BAKING NEWBURYPORT M. $ 7.94
01/06/2015 APL ITUNES COM BILL CA $ 5.29
01/07/2015 WITHDRAW 315 COMMONWEALTH WAY $ 83.00
01/07/2015 THE GROG RESTAURANT NEWBURYPO $ 22.43
01/07/2015 EXXONMOBIL NEWBURYPORT MA $ 20.69
01/07/2015 NONTD ATM FEE $ 3.00
01/08/2015 CVS AMESBURY MA $ 156.30
01/08/2015 MAIN ANIMAL SRV HOP HOPKINTON MA $ 156.20
01/08/2015 CVS AMESBURY MA $ 38.72
01/09/2015 EO NOODLES FRAMIGHAM MA $ 52.44
01/09/2015 NORDSTROM 0531 NATICK MA $ 41.52
01/09/2015 EXXONMOBIL NEWBURYPORT MA $ 39.82
01/09/2015 CIRCLE AMESBURY MA $ 36.63
01/09/2015 PRO CUT FRAMIGHAM MA $ 30.95
01/09/2015 MORNING BUZZ CAFE AMESBURY MA $ 20.84
01/09/2015 DUNKIN 304921 NEWBURYPORT MA $ 3.84
01/09/2015 INONE VENDING 19 HUNT VALLEY MD $ 1.00
01/12/2015 VZWRLSS IVR VB GA 3 1,163.57
01/12/2015 MIX MIX CILLEXIONS SAINT HYACINT C$ 152.94
01/12/2015 GAP OUTLET USA KITTERY ME $ 104.42
01/12/2015 BRINE OYSTER NEWBURYPORT MA $ 96.47
01/12/2015 TARGET FRAMIGHAM MA $ 90.46
01/12/2015 FOOT LOCKER PEABODY MA $ 89.99
01/12/2015 HARRY BAR GRILL BRIGHTON MA 3 89.84
01/12/2015 DIRECT TIRE AUTO SER NATICK MA $ 85.00
01/12/2015 NORDSTROM 543 MIDDLES BURLINGTO $ 79.97
01/12/2015 UNIQLO NATICK FRAMIGHAM MA $ 79.60

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01/12/2015 300NIRTH SAUNDERSTOWN RI $ 72.05
01/12/2015 CREW FACTORY STORE KITTERY ME $ 64.03
01/12/2015 WEATHERVANE SEAFOOD REST KITTEF $ 62.32
01/12/2015 GULF OIL FRAMNIGHAM MA $ 37.37
01/12/2015 WASABI NATICK VA $ 35.50
01/12/2015 CIRCLE AMESBURY MA $ 31.75
01/12/2015 PHO PARIS PEABODY MA $ 31.18
01/12/2015 CVS AMESBURY MA $ 27.25
01/12/2015 SUNOCO AMESBURY MA $ 23.34
01/12/2015 THE JUICERY PORTSMOUTH NH $ 16.00
01/12/2015 PAUL NATICK NATICK MA 3 13.21
01/12/2015 SANDWICH WORKS NEWTON CENTER $ 8.22
01/13/2015 MICHELLES ON MARKET PORTSMOUTH §$ 73.75
01/13/2015 CIRCLE AMESBURY MA $ 26.98
01/13/2015 MORNING BUZZ CAFE AMESBURY MA $ 21.79
01/13/2015 CHOCOCOA BAKING NEWBURYPORT M $ 8.95
01/13/2015 UMI OF JAPAN PEABODY MA $ 7.79
01/13/2015 NONTD ATM FEE $ 3.00
01/14/2015 SBARRO EAST BOSTON MA $ 28.42
01/14/2015 MORNING BUZZ CAFE AMESBURY MA $ 21.04
01/14/2015 HUDSON NEWS EAST BOSTON MA $ 9.68
01/15/2015 JOES AMERICAN PEABODY MA $ 75.06
01/20/2015 CHECKS #1608 $ 2,800.00
01/20/2015 AROUND ICELAND REYKJAVIK ISL $ 28.84
01/20/2015 HAGKAUP AKUREYRI REYKJAVIKISL $ 20.16
01/22/2015 LAUGAVEGUR 26 REYKJAVIK REYKJA' $ 304.19
01/22/2015 NONTD ATM FEE $ 3.00
01/28/2015 DRIFA GARDABAR ISL $ 117.13
01/28/2015 ASIA REYKJAVIK ISL $ 53.49
01/28/2015 ASIA REYKJAVIK ISL $ 31.18
01/28/2015 NONTD ATM FEE $ 3.00
01/29/2015 VZWRLSS IVR _ VB GA $ 200.00
01/29/2015 GEYSIR SKOLAVORDUSTIG REYKJAVI $ 73.71
01/30/2015 CVS AMESBURY MA $ 109.47
01/30/2015 VOX RESTAURANT REYKJAVIK ISL $ 84.18
01/30/2015 TJ TJ MAXX SEABROOK NH $ 72.99
01/30/2015 PETSMART SEABROOK NH $ 46.66

[Total PERSONAL $ 9,233.91

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February

INCOMING FUNDS

INCOMING FUNDS - STEVEN BARLOW S 45,883.53
USAGE OF FUNDS

Fossa Business $ 30,102.20

Clearly Personal S 5,732.70

Unable to determine S 7,469.19
TOTAL USAGE OF FUNDS $ 43,304.09

120.83
93.04
66.53
46.76
35.64
32.10
24.18
22.72
19.95

101.53
79.95
49.94

2/2/2015 COMCAST CABLE COMM COMCAST M. $
2/2/2015 MARSHALLS MARSHALLS NEWBURYPC $
2/2/2015 RISTORANTE MOLISE AMESBURY MA $
2/2/2015 HUDSON NEWS EAST BOSTON MA $
2/2/2015 FRIENDLY AMESBURY MA $
2/2/2015 CIRCLE AMESBURY MA $
2/2/2015 FRIENDLY AMESBURY MA $
2/2/2015 MORNING BUZZ CAFE AMESBURY M $
2/2/2015 INTUIT PYMT SOLN ACCT FEE $
2/3/2015 DURGIN PARK EAST BOSTON MA $
2/3/2015 BIGCOMMERCE COM TX $
2/3/2015 VOC ICONTACTEMAIL MD $
2/3/2015 PET CITY SEABROOK NH $ 17.38
2/3/2015 DUNKIN AMESBURY MA $ 12.29
2/3/2015 FREEDOM VOICE SYSTEMS CA $ 10.91
2/4/2015 THE LAUNDROMAT CAFE REYKJAVIK $ 99.00
2/5/2015 LEVIS BUDIN GLERARTORGI KOPAVOC $ 63.94
2/9/2015 LAUGAVEGUR REYKJAVIK ISL TOURIS' $ 49.91
2/10/2015 NATIONAL GRID NY $ 387.93
2/11/2015 VZWRLSS IVR VN NJ $ 180.00
2/11/2015 SHUN FENG SEABROOK NH $ 22.62
2/12/2015 CVS AMESBURY MA $ 43.11
2/12/2015 AMAZON COM SEATTLE WA $ 32.97
2/12/2015 STATION CAFE NEWBURYPORT MA $ 23.23
2/12/2015 DUNKIN BOSTON MA $ 6.51
2/13/2015 CUMBERLAND FARMS AMESBURY MA $ 30.17
2/17/2015 HST TRSFOUNDATION ORG UT $ 143.88
2/17/2015 OVERDRAFT PD $ 105.00
2/19/2015 AMI AMICA INSURANCE RJ $ 344.00
2/19/2015 MARSHALLS MARSHALLS NEWBURYP $ 137.53

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2/19/2015 AMAZON COM SEATTLE WA $ 41.80
2/20/2015 CRATE BARREL KITTERY ME $ 201.28
2/20/2015 KITTERY TRADING POST KITTERY ME $ 158.24
2/20/2015 CREW FACTORY STORE KITTERY ME §$ 94.94
2/23/2015 KITTERY TRADING POST KITTERY ME $ 179.34
2/23/2015 TENDERCROP FARM NEWBURY MA $ 84.25
2/23/2015 BROOKSTONE KITTERY ME $ 81.66
2/23/2015 PORTSMOUTH BREWERY PORTSMOU’ $ 68.35
2/23/2015 VZWRLSS IVR VN NJ $ 62.00
2/23/2015 ROBERTS MAINE GRILL AND KITTER’ $ 59.31
2/23/2015 TJ TJ MAXX SEABROOK NH $ 57.95
2/23/2015 CVS AMESBURY MA $ 44.18
2/23/2015 THE HOLLOW CAFE AMESBURY MA $ 30.37
2/23/2015 PET CITY SEABROOK NH $ 9.18
2/23/2015 DUNKIN AMESBURY MA $ 6.36
2/24/2015 ELECTRONIC PMT-TEL, NGRIDO5 NGRIC $ 370.61
2/24/2015 ETSY COM NJ $ 170.00
2/24/2015 TARGET DANVERS MA $ 166.88
2/24/2015 MICHELLES ON MARKET PORTSMOUTI $ 68.57
2/24/2015 PAYPAL CRAGOSTICKB SAN JOSE CA $ 36.01
2/24/2015 SZECHUAN TASTE NEWBURYPORT NV $ 26.20
2/24/2015 3SYLVAN ST PEABODY MA $ 20.00
2/24/2015 ATOMIC CAFE NEWBUR NEWBURYPC $ 7.46
2/25/2015 PAYPAL GORIANI ART CA $ 145.62
2/25/2015 CHEESECAKE FACTORY PEABODY MA $ 108.63
2/25/2015 TJ TJ MAXX PORTSMOUTH NH $ 66.94
2/25/2015 BEDBATH BEYOND BEDBATH PORTSA $ 61.36
2/25/2015 HOMEGOODS HOME GOODS ORTSMOL §$ 57.95
2/25/2015 CUMBERLAND FARMS AMESBURY MA $ 31.70
2/25/2015 OVERDRAFT PD $ 175.00
2/26/2015 ELECTRONIC PMT-TEL, ACHIVR VISB BI $ 417.00
2/26/2015 SHAW S NEWBURYPORT MA $ 40.28
2/26/2015 STAPLES NEWINGTON NH $ 14.99
2/26/2015 TRADER JOE NEWINGTON NH $ 13.56
2/26/2015 BARNESNOBLE EWINGTON NH $ 9.99
2/27/2015 COMCAST BOSTON CS 1X NH $ 147.63
2/27/2015 KELLY S TRUE VALUE NEWBURYPORT $ 28.46
2/27/2015 USPS NEWBURYPORT MA $ 19.99
2/27/2015 ATOMIC CAFE NEWBUR NEWBURYPO $ 11.77
2/27/2015 MAINTENANCE FEE $ 15.00
2/27/2015 Funds Transfer $ (81.66)}
Total PERSONAL $ 5,732.70

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March
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 55,667.14
USAGE OF FUNDS
Fossa Business S 41,235.28
Clearly Personal S 13,214.39
Unable to determine S 2,638.76
TOTAL USAGE OF FUNDS s 57,088.43
3/2/2015 MICHAEL S HARBORS! NEWBURYPOR’ $ 91.11
3/2/2015 BERTUCCI 021 PEABODY MA $ 67.57
3/2/2015 CUMBERLAND FARMS 2035 AMESBUR' $ 36.35
3/2/2015 PORTSMOUTH BREWERY PORTSMOU' $ 33.98
3/2/2015 MARSHALLS MARSHALLS NEWBURYP* $ 31.86
3/2/2015 THE HOLLOW CAFE AMESBURY MA $ 29.84
3/2/2015 SZECHUAN TASTE NEWBURYPORT N $ 28.80
3/2/2015 KITTERY TRADING POST KITTERY ME $ 23.20
3/2/2015 INTUIT PYMT SOLN ASST FEE $ 19.95
3/2/2015 KMART NEWBURYPORT MA $ 18.04
3/2/2015 KITTERY TRADING POST KITTERY ME $ 15.81
3/2/2015 STARBUCKS PORTSMO PORTSMOUTH $ 9.14
3/2/2015 DUNKIN NEWBURYPORT MA $ 6.18
3/3/2015 CHECKS #1615 $ 2,800.00
3/3/2015 MARSHALLS MARSHALLS NORTH HAM $ 90.97
3/3/2015 BIGCOMMERCE COM TX $ 79.95
3/3/2015 CHILIS SEABROOK SEABROOK NH $ 76.66
3/3/2015 THE NATURAL DOG NEWBURYPORT f $ 57.32
3/3/2015 VOC ICONTACTEMAIL MKT SV MD $ 49.94
3/3/2015 STOP SHOP AMESBURY MA $ 48.02
3/3/2015 SZECHUAN TASTE NEWBURYPORT M. $ 28.56
3/3/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.51
3/4/2015 THE GROG RESTAURANT NEWBURYPC $ 147.09
3/4/2015 STATION CAFE NEWBURYPORT MA $ 32.53
3/4/2015 DUNKIN AMESBURY MA $ 12.05
9/4/2015 OVERDRAFT PD $ 175.00
3/5/2015 EXXONMOBIL NEWBURYPORT MA $ 26.68
3/5/2015 HUDSON NEWS PHILADELPHIA PA $ 15.47
3/5/2015 FREEDOM VOICE SYSTEMS CA $ 10.91
3/5/2015 DUNKIN NEWBURYPORT MA $ 4.28

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3/5/2015 NONTD ATM FEE $ 3.00
3/6/2015 ASIAN TOO BOSTON MA $ 25.95
3/6/2015 HEALTH CARE CEN ORLANDO FL $ 10.65
3/6/2015 ASIAN TOO BOSTON MA 3 3.20
3/6/2015 NONTD ATM FEE $ 3.00
3/9/2015 MARTINS STAUNTON VA $ 210.89
3/9/2015 OFF FIFTH ORLANDO FL $ 192.42
3/9/2015 BARNEY S NEW YORK ORLANDO FL $ 122.59
3/9/2015 MARTINS STAUNTON VA $ 115.21
3/9/2015 BARNEY S NEW YORK ORLANDO FL $ 73.81
3/9/2015 CILIUS PREDIN MIAMI FL $ 28.75
3/9/2015 MARTINS 6424 HARRISONBURG VA §$ 21.03
3/9/2015 WAL MART STAUNTON VA $ 20.93
3/9/2015 THE HOME DEPOT HARRISONBURG \ $ 7.34
3/9/2015 NONTD ATM FEE $ 3.00
3/10/2015 TJ TJ MAXX SEABROOK NH $ 24.99
3/11/2015 THE HOME DEPOT SEABROOK NH $ 280.97
3/11/2015 BEST BUY NEWINGTON NH $ 29.99
3/11/2015 SHUN FENG SEABROOK NH $ 26.18
3/11/2015 AMAZON COM SEATLE WA $ 25.26
3/11/2015 BARNESNOBLE GOSLING EWINGTON $ 14.39
3/11/2015 RICHDALE CONVENIEN SEABROOK NF $ 40.00
3/11/2015 THE HOME DEPOT SEABROOK NH $ 3.85
3/12/2015 ATT BILL PAYMENT TX $ 85.32
3/12/2015 APPLE STORE PEABODY MA $ 31.82
3/12/2015 THE HOLLOW CAFE AMESBURY MA $ 29.04
3/13/2015 FIFTY WATER RESTAURANT NEWBUR’ $ 209.76
3/13/2015 CIRCLE AMESBURY MA $ 34.05
3/13/2015 THE HOLLOW CAFE AMESBURY MA $ 29.84
3/13/2015 PET CITY SEABROOK NJ $ 12.79
3/16/2015 AMAZONPRIME MEMBERSHIP NV $ 99.00
3/16/2015 BARNESNOBLE MIDDLESEX BURLING’ $ 65.33
3/16/2015 BROWN SUGAR BY THE SEA NEWBUR $ 51.94
3/16/2015 THE GROG RESTAURANT NEWBURYP $ 46.19
3/16/2015 CUMBERLAND FARMS AMESBURY MA $ 30.26
3/16/2015 CVS PHARMACY AMESBURY MA $ 19.10
3/16/2015 STARBUCKS PEABODY PEABODY Mé $ 12.07
3/16/2015 STARBUCKS SEABROOK SEABROOK | $ 7.19
3/16/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.51
3/17/2015 OVERDRAFT PD $ 175.00
3/18/2015 ELECTRONIC PMT-TEL, ACHIVR VISB E $ 670.03
3/18/2015 CIRCLE AMESBURY MA $ 29.27
3/18/2015 STARBUCKS BOSTON BOSTON MA $ 11.82
3/18/2015 MANDARIN ORIENTAL FB BOSTON MA $ 119.86

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3/19/2015 FLATBREAD COMPANY AMESBURY A $ 95.59
3/19/2015 EMPIRE GARDEN RESTAURANT BOSTC $ 60.75
3/19/2015 THE HOLLOW CAFE AMESBURY MA $ 44.09
3/19/2015 ANGIES FOOD DINER NEWBURYPORT $ 37.92
3/19/2015 LAZ PARKING BOSTON MA $ 26.00
3/19/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.66
3/19/2015 OVERDRAFT PD $ 105.00
3/20/2015 LUCKY BRAND KITTERY ME $ 65.91
3/20/2015 OVERDRAFT PD $ 175.00
3/23/2015 TANNERY CAMBRIDGE MA $ 175.00
3/23/2015 RISTORANTE MOLISE AMESBURY MA $ 173.44
3/23/2015 ANJU KITTERY POINT ME $ 110.20
3/23/2015 TJ TJ MAXX SEABROOK NH $ 89.99
3/23/2015 ALE HOUSE AMESBURY MA $ 76.42
3/23/2015 YENCHING CAMBRIDGE MA $ 42.17
3/23/2015 CUMBERLAND FARMS AMESBURY M. $ 34.48
3/23/2015 LIL S CAFE KITTERY ME $ 23.98
3/23/2015 URBAN OUTFITTER URBAN CAMBRIDG $ 19.99
3/23/2015 FISHERMAN S NET BOSTON MA $ 17.77
3/23/2015 HARVARD SQUARE PARKING CAMBRIC $ 15.00
3/23/2015 SHELL OIL REVERE MA $ 14.86
3/23/2015 CHOCOCOA BAKING NEWBURYPORT $ 11.73
3/23/2015 JOCKEY KITTERY ME 3 9.46
3/23/2015 STARBUCKS KITTERY KITTERY ME $ 8.53
3/23/2015 DUNKIN KITTERY ME $ 7.97
3/24/2015 ARMY BARRACKS ESSE SALEM MA §$ 186.21
3/24/2015 STONEWALL CAFE YORK ME $ 98.82
3/24/2015 PORTSMOUTH BREWERY PORTSMOU $ 97.42
3/24/2015 AT T MOBILITY II LLC PEABODY MA $ 37.19
3/24/2015 SZECHUAN TASTE NEWBURYPORT M. $ 27.01
3/25/2015 VERIZON WRLS FRAMINGHAM MA $ 200.00
3/25/2015 PAYPAL DBRAND INC SAN JOSE CA $ 57.00
3/25/2015 SHUN FENG SEABROOK NH $ 31.68
3/25/2015 THE HOLLOW CAFE AMESBURY MA $ 28.73
3/25/2015 STARBUCKS PEABODY PEABODY MA $ 18.76
3/26/2015 SHEA S RIVERSIDE REST BA ESSEX NV $ 148.94
3/26/2015 MICHAELS STORES SEABROOK NH $ 48.63
3/26/2015 LIFE ALIVE SALEMLLC SALEM MA $ 35.73
3/26/2015 THE HOLLOW CAFE AMESBURY MA $ 32.30
3/26/2015 CREW FACTORY STORE KITTERY ME $ 26.11
3/26/2015 MARSHALLS MARSHALLS NEWBURYF $ 17.97
3/26/2015 PAUL NATICK NATICK MA $ 17.41
3/27/2015 EL BURRITO INC AMESBURY MA $ 47.32
3/27/2015 CIRCLE AMESBURY MA $ 30.92

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3/27/2015 PAYPAL BODYGUARDZ CA $ 24.90
3/27/2015 PRO CUT FRAMINGHAM MA $ 20.95
3/27/2015 USPS COM DC $ 18,11
3/27/2015 THE JUICERY PORTSMOUTH NH $ 16.00
3/27/2015 ATOMIC CAFE NEWBURYPORTMA = $ 3.20
3/30/2015 CHECKS # 1620 $ 2,800.00
3/30/2015 BROWN SUGAR BY THE SEA NEWBUF $ 78.48
3/30/2015 PORTSMOUTH GAS LIGHT PORTSMOU $ 75.13
3/30/2015 CHINA KING RESTAURANT BOSTON M $ 64.25
3/30/2015 AMAZON COM SEATTLE WA $ 54.95
3/30/2015 THE GROG RESTAURANT NEWBURYP $ 51.98
3/30/2015 BARNESNOBLE GOSLING EWINGTON $ 44.92
3/30/2015 THE HOLLOW CAFE AMESBURY MA $ 36.40
3/30/2015 CIRCLE SEABROOK NH $ 30.86
3/30/2015 SHUN FENG SEABROOK NH $ 27.54
3/30/2015 SZECHUAN TASTE NEWBURYPORT Mé $ 26.74
3/30/2015 FM STATION NEWBURYPORT MA $ 23.78
3/30/2015 CHOCOCOA BAKING NEWBURYPORT $ 9.82
3/30/2015 STARBUCKS BOSTON BOSTON MA $ 8.80
3/31/2015 BARNESNOBLE MIDDLESEX BURLINGT $ 33.16
3/31/2015 LAZ PARKING BOSTON MA $ 16.00
3/31/2015 MAINTENANCE FEE $ 15.00
| Total PERSONAL $ 43,214.39
April

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 25,267.90

USAGE OF FUNDS
Fossa Business $ 11,709.92
Clearly Personal S 9,433.72
Unable to determine $ 1,952.45
TOTAL USAGE OF FUNDS s 23,096.09
04/01/2015 ELECTRONIC PMT-TEL, ACHIVR VISB Bil $ 998.09
04/01/2015 THE GROG RESTAURANT NEWBURYPC $ 89.01
04/01/2015 ROMANOS 1173 BURLINGTON MA $ 68.12
04/01/2015 FM STATION NEWBURYPORT MA $ 37.57
04/01/2015 THE HOLLOW CAFE AMESBURY MA $ 36.93
04/01/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95

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04/01/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/01/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/01/2015 BARNES NOBLE BURLINGTON MA $ 5.46
04/01/2015 BARNES NOBLE BURLINGTON MA $ 2.68
04/02/2015 COMCAST BOSTON CS IX NH $ 171.15
04/02/2015 THE GROG RESTAURANT NEWBURYPC §$ 43.29
04/02/2015 SHECHUAN TASTE NEWBURYPORT MA $ 21.14
04/02/2015 MICHAELS STORES SEABROOK NH $ 13.47
04/02/2015 ATOMIC CAFE NEWBURYPORT MA $ 8.78
04/02/2015 DUNKIN 332335 NEWBURYPORT MA $ 2.25
04/03/2015 BARNESNOBLE 1 WORCESTER FRAMIN $ 56.52
04/03/2015 CUMBERLAND FARMS FRAMINGHAM > $ 30.04
04/03/2015 SHELL OIL NEWBURYPORT MA $ 20.22
04/03/2015 STARBUCKS SEABROOK NH $ 20.04
04/06/2015 SALT KITCHEN AND RUM BAR IPSWICH $ 136.37
04/06/2015 JO JO TAI PE! ALLSTON MA $ 82.65
04/06/2015 CK SHANGHAL WELLSLEY MA $ 62.55
04/06/2015 799 BOYLSTON ST BOSTON MA $ 60.00
04/06/2015 CHEESCAKE FACTORY PEABODY MA $ 40.56
04/06/2015 THE HOLLOW CAFE AMESBURY MA $ 31.58
04/06/2015 WOODMANS OF ESSEX ESSEX MA $ 31.40
04/06/2015 CUMBERLAND FARMS AMESBURY MA $ 30.04
04/06/2015 PRUDENTIAL CENTER GARA BOSTON | $ 30.00
04/06/2015 CUMBERLAND FARMS AMESBURY MA $ 24.51
04/06/2015 HARVARD SQUARE PARKING CAMBRID $ 16.00
04/06/2015 STARBUCKS PEABODY MA $ 9.35
04/06/2015 STARBUCKS CAMBRIDGE MA $ 7.59
04/06/2015 STARBUCKS BOSTON MA $ 4.23
04/06/2015 NONTD ATM FEE $ 3.00
04/08/2015 SPICE THAI KITCHEN IPSWICH MA $ 112.85
04/08/2015 MORNING BUZZ CAFE AMESBURY MA $ 24.51
04/09/2015 3 SOUTH MAIN IPSWICH MA $ 102.50
04/09/2015 NONTD ATM FEE $ 3.00
04/10/2015 NATIONALGRID SYRACUSE NY $ 502.00
04/10/2015 TOWN FAIR TIRE SEABROOK NH $ 366.60
04/13/2015 SALT KITCHEN AND RUM BAR IPSWICH $ 143.08
04/13/2015 STOP SHOP AMESBURY MA $ 97.02
04/13/2015 JS OYSTER PORTLAND ME $ 66.48
04/13/2015 FM STATION NEWBURYPORT MA $ 54.57
04/13/2015 EXXONMOBIL WEST BARNSTAB MA $ 32.49
04/13/2015 HANSCOMS TRUCK STOP PORTSMOUT $ 30.92
04/13/2015 MARY MANSUR NEWBURYPORT MA $ 23.00
04/13/2015 POPEYES ME KENNEBUNK ME $ 21.59
04/13/2015 SUNOCO WENHAM MA $ 17.24

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04/13/2015 KELLIE BROOK FARM NEWBURYPORT $ 12.50
04/13/2015 STARBUCKS PEABODY MA $ 12.09
04/13/2015 UNIFIED PARKING PORTLAND ME $ 10.00
04/13/2015 ATOMIC CAFE NEWBURYPORT MA $ 9.73
04/13/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/13/2015 STARBUCKS PORTLAND ME $ 5.51
04/14/2015 ANJU KITTERY POINT ME $ 193.24
04/14/2015 SZECHUAN TASTE NEWBURYPORT M, $ 32.98
04/14/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
04/15/2015 HONG KONG SUPERMARKET ALLSTON $ 43.54
04/15/2015 THE GROG RESTAURANT NEWBURYPC $ 35.79
04/15/2015 CUMBERLAND FARMS AMESBURY MA $ 20.60
04/15/2015 ATOMIC CAFE NEWBURYPORT MA $ 2.51
04/16/2015 KANTIN BOSTOM MA $ 30.45
04/16/2015 CUMBERLAND FARMS AMESBURY MA $ 29.34
04/16/2015 PANERA BREAD DANVERS MA $ 17.09
04/16/2015 STARBUCKS PEABODY MA $ 7.06
04/16/2015 PANERA BREAD DANVERS MA $ 5.33
04/17/2015 BED BATH BEYOND DANVERS MA $ 111.47
04/17/2015 EXXONMOBIL DANVERS MA $ 35.00
04/17/2015 THE HOLLOW CAFE AMESBURY MA $ 30.25
04/17/2015 FMSTATION NEWBURYPORT MA $ 20.85
04/17/2015 THA! GRILL SUSHI CAFE MA $ 10.50
04/17/2015 PAYPAL MYCOMMERCE ESELL MN $ 6.32
04/17/2015 MASTER WOK PEABODY MA $ 4.38
04/17/2015 OVERDRAFT $ 175.00
04/20/2015 BEST BUY NEWINGTON NH $ 164.98
04/20/2015 STARBUCKS CARD RELOAD WA $ 50.00
04/20/2015 THE GROG RESTAURANT NEWBURYPC $ 48.73
04/20/2015 CUMBERLAND FARMS AMESBURY MA $ 33.01
04/21/2015 EL BURRITO INC AMESBURY MA $ 53.40
04/21/2015 MARKET BASKET SEABROOK NH $ 35.69
04/21/2015 JOPPA FINE FOODS MA $ 19.85
04/21/2015 TJ TJ MAXX SEABROOK NH $ 9.99
04/22/2015 HANA JAPAN RESTAURANT NEWBURY} $ 31.20
04/22/2015 STARBUCKS KITTERY ME $ 22.83
04/22/2015 PANERA BREAD NEWBURYPORT MA $ 17.29
04/23/2015 PAYPAL MIUOLU! COM CA $ 161.00
04/23/2015 PAYPAL BALDOCKMIKE CA $ 118.14
04/23/2015 174 NEWBURYPORT TURNPIKE ROWLI $ 60.00
04/24/2015 GULF OIL NEWTON HIGHLA MA $ 20.13
04/24/2015 BANANA REPUBLIC OUTLET KITTERY f $ 18.99
04/24/2015 STAPLES INC SEABROOK NH $ 8.52
04/27/2015 MARKET BASKET SEABROOK NH $ 89.36

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04/27/2015 NORDSTROM NATICK MA $ 68.80
04/27/2015 BARNACLE INC MARBLEHEAD MA $ 65.27
04/27/2015 PETCO 739 TOPSFIELD MA $ 53.10
04/27/2015 OLD FERRY LANDING REST PORTSMOL $ 54.42
04/27/2015 PAYPAL ICARBONSINC FL $ 49.95
04/27/2015 WHOLEFDS BLH BELLINGHAM MA $ 43.10
04/27/2015 SHUN FENG SEABROOK NH $ 31.68
04/27/2015 GULF OIL SALISBURY MA $ 31.09
04/27/2015 CVS NEWBURYPORT MA $ 30.80
04/27/2015 ANGIES FOOD DINER NEWBURYPORT |! $ 30.34
04/27/2015 POPOVERS ON THE SQUARE PORTSMC $ 26.89
04/27/2015 EXXONMOBIL NEWBURYPORT MA $ 22.30
04/27/2015 PRO CUT FRAMINGHAM MA $ 20.95
04/27/2015 THE JUICERY PORTSMOUTH NH $ 18.01
04/27/2015 NORDSTROM NATICK MA $ 40.00
04/28/2015 AT T BILL PAYMENT TX $ 118.96
04/28/2015 SICHUAN GARDEN WOBURN MA $ 21.83
04/28/2015 USPS COM DC $ 18.11
04/29/2015 PAYPAL OZGUNAYDINA SAN JOSE CA § 70.00
04/29/2015 CUMBERLAND FARMS AMESBURY MA $ 31.84
04/29/2015 TUMI STORES INC WRENTHAM MA $ 30.81
04/30/2015 CHECKS #1622 $ 2,800.00
04/30/2015 STONEWALL CAFE YORK ME $ 109.35
04/30/2015 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 9,433.72
May

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 31,942.20

USAGE OF FUNDS
Fossa Business $ 19,005.50
Clearly Personal $ 6,130.65
Unable to determine § 3,853.35
TOTAL USAGE OF FUNDS s 28,989.50
05/01/2015 AMAZON COM SEATTLE WA $ 246.88
05/01/2015 CHEESCAKE FACTORY PEABODY MA $ 69.49
05/01/2015 AMAZON COM SEATTLE WA $ 36.67

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05/01/2015 SZECHUAN TASTE NEWBURYPORT M $ 33.25
05/01/2015 THE HOLLOW CAFE AMESBURY MA $ 31.00
05/01/2015 TEAVANA CHESTNUT HILL MA $ 20.92
05/01/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
05/01/2015 CRATE BARREL CHESTNUT HILL MA $ 14.84
05/01/2015 ATOMIC CAFE NEWBURYPORTMA  $ 12.05
05/01/2015 AMAZON COM SEATTLE WA $ 9.99
05/01/2015 BREAKING NEW GROUNDS PORTSMOL $ 8.70
05/04/2015 88 EASTERN AVENUE ESSEX MA $ 102.00
05/04/2015 BRAZO RESTAURANT PORTSMOUTH f $ 99.66
05/04/2015 JO JO TAIPEI ALLSTON MA $ 96.24
05/04/2015 AMAZON COM BILL $ 48.50
05/04/2015 FM STATION NEWBURYPORT MA $ 22.18
05/04/2015 FUEL AMERICA BRIGHTON MA $ 21.89
05/04/2015 STARBUCKS CHESTNUT HILL MA $ 12.15
05/04/2015 NONTD ATM FEE $ 3.00
05/05/2015 REG OF MOTOR VEHICLE MA $ 60.00
05/05/2015 THE GROG RESTAURANT NEWBURYPC $ 51.57
05/05/2015 CUMBERLAND FARMS AMESBURY MA $ 36.57
05/05/2015 EXXONMOBIL NEWBURYPORT MA $ 21.03
05/06/2015 AMI AMICA INSURANCE RI $ 347.00
05/06/2015 AUTOZONE 519 LAFAY SEABROOK NH $ 174.99
05/06/2015 TEN ICHI NATICK MA $ 440.00
05/06/2015 LORETTA NEWBURYPORT MA $ 35.92
05/06/2015 PAUL NATICK NATICK MA $ 14.82
05/06/2015 PAUL NATICK NATICK MA $ 6.33
05/07/2015 SHUN FENG SEABROOK NH $ 36.17
05/07/2015 GULF OIL AMESBURY MA $ 441
05/08/2015 NORDSTROM 0531 NATICK MA $ 45,80
05/08/2015 THE HOLLOW CAFE AMESBURY MA $ 21.93
05/11/2015 PAYPAL TIRERACK IN $ 640.56
05/11/2015 COMCAST BOSTON CS IX NH $ 170.85
05/11/2015 CEIA KITCHEN AND BAR NEWBURYPC $ 144.67
05/11/2015 EXXONMOBIL WAYLAND MA $ 36.49
05/14/2015 EXXONMOBIL WAYLAND MA $ 34.63
08/11/2015 EXXONMOBIL PORTSMOUTH NH $ 30.92
05/11/2015 THE JUICERY PORTSMOUTH NH $ 18.01
05/11/2015 STONEWALL KITCHEN YORK ME $ 6.95
05/12/2015 KANTIN BOSTON MA $ 62.35
05/12/2015 STONEWALL CAFE YORK ME $ 10.80
05/13/2015 SZECHUAN TASTE NEWBURYPORT M, $ 24.87
05/13/2015 OVERDRAFT PD $ 405.00
05/14/2015 EVENTIDE OYSTER PORTLAND ME $ 237.36
05/14/2015 CVS AMESBURY MA $ 110.54

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05/14/2015 THE HOLLOW CAFE AMESBURY MA $
05/14/2015 TJ TJ MAXX FRAMINGHAM MA $
05/14/2015 OVERDRAFT PD $
05/15/2015 OGA S JAPANESE CUISINE NATICK MA $
05/15/2015 SNAPPY SUSHI NEWBURY ST BOSTON $

05/15/2015 CIRCLE AMESBURY MA $
05/15/2015 LAZ PARKING BOSTON MA $
05/15/2015 OVERDRAFT PD $

05/18/2015 MICHAEL S HARBORSI AMESBURY MA $
05/18/2015 CUMBERLAND FARMS AMESBURY Mé $
05/18/2015 ANGIES FOOD DINER AMESBURY MA $
05/18/2015 CUMBERLAND FARMS AMESBURY Mé $
05/18/2015 THE HOLLOW CAFE AMESBURY MA $
05/18/2015 RUSSELL ORCHARDS IPSWICH MA 3
05/18/2015 KELLIE BROOK FARM NEWBURYPORT $
05/18/2015 CHOCOCOA BAKING NEWBURYPORT WV $
05/18/2015 KELLIE BROOK FARM NEWBURYPORT $
05/18/2015 OVERDRAFT PD $
05/19/2015 LE S RESTAURANT CAMBRIDGE MA $
05/19/2015 UNIQLO NATICK FRAMINGHAM MA $
05/19/2015 MELT GELATO CAFE NATICK MA $
05/19/2015 PEET S CAMBRIDGE MA $
05/20/2015 DIRECT TIRE AUTO SER NATICK MA $
05/20/2015 SHABU ZEN ALLSTON MA $
05/20/2015 CHARLES SQUARE GARAGE CAMBRIL $

05/20/2015 NORDSTROM NATICK MA $
05/21/2015 KANTIN BOSTON MA $
05/21/2015 WASABI] NATICK VA $

06/21/2015 CUMBERLAND FARMS AMESBURY MA $
05/21/2015 THE HOLLOW CAFE AMESBURY MA $
05/21/2015 PANDA EXPRESS BOSTON MA $
05/22/2015 PRUDENTAL CENTER GARA BOSTON A $
05/22/2015 THE HOLLOW CAFE AMESBURY MA $
05/22/2015 HONG KONG SUPERMARKET ALLSTON $
05/22/2015 THE JUICERY PORTSMOUTH NH $
05/22/2015 BARNES NOBLE BOSTON MA $
05/26/2015 LEGAL SEA FOODS CAMBRIDGE MA $
05/26/2015 PORTSMOUTH BREWERY PORTSMOL $
05/26/2015 PORTSMOUTH SAKE RESTAURANT POI $
05/26/2015 STOP SHOP AMESBURY MA $
05/26/2015 CVS AMESBURY MA $
05/26/2015 CUMBERLAND FARMS AMESBURY Mf $
05/26/2015 THE HOLLOW CAFE AMESBURY MA $
05/26/2015 THE HOLLOW CAFE AMESBURY MA $

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29.30
18.97
35.00
149.74
33.32
28.62
22.00
140.00
94.25
37.43
35.21
29.53
27.43
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7.94
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140.00
49.69
25.80
10.38
7.10
252.96
157.52
12.00
7.33
57.95
53.55
37.04
24.75
21.29
40.00
29.03
21.24
18.01
6.96
93.61
69.80
63.28
58.25
46.51
34.80
27.43
24.16

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05/26/2015 TJ TJ MAXX SEABROOK NH $ 19.97
05/26/2015 FRIENDLY S AMESBURY MA $ 16.67
05/26/2015 CVS AMESBURY MA $ 14.80
05/26/2015 PETSMART INC SEABROOK NH $ 13.59
05/26/2015 ATOMIC CAFE NEWBURYPORT MA $ 6.78
05/26/2015 BREAKING NEW GROUDS PORTSMOU' $ 6.10
05/27/2015 BROWN SUGAR BY THE SEA NEWBUR $ 62.50
05/27/2015 LOTUS FLOWER FRAMINGHAM MA — $ 54.56
05/27/2015 THE GROG RESTAURANT NEWBURYPC $ 39.50
05/27/2015 NEW ENGLAND CLEANERS AMESBURY $ 38.25
05/27/2015 USPS COM DC $ 18.11
05/27/2015 USPS AMESBURY MA $ 16.79
05/27/2015 USPS COM DC $ 16.35
05/27/2015 USPS AMESBURY MA $ 13.00
05/27/2015 GULF OIL AMESBURY MA $ 4.58
05/28/2015 PRO CUT FRAMINGHAM MA $ 30.95
05/28/2015 BOSTON BEER WORKS PIER BOSTON $ 20.12
05/29/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
05/29/2015 HUDSON NEW EAST BOSTON MA $ 19.75
05/29/2015 STARBUCKS SAN DIEGO CA $ 16.75
05/29/2015 STARBUCKS DANA POINT CA $ 6.20
05/29/2015 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 6,130.65
June

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 50,397.60

USAGE OF FUNDS
Fossa Business S 34,301.86
Clearly Personal S 13,279.15
Unable to determine S 531.05
TOTAL USAGE OF FUNDS S 48,112.06
06/01/2015 CHECKS # 1624 $ 2,800.00
06/01/2015 PAYPAL VOLLKOMMEND CA $ 2,050.00
06/01/2015 HOTWIRE SALES FINAL CA $ 550.52
06/01/2015 AT T BILL PAYMENT TX $ 306.45
06/01/2015 1515 OCEAN AVE SANTA MONJCA CA $ 203.95
06/01/2015 0296 FOREVER 21 SANTA MONICA Ci $ 60.04

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06/01/2015 USPS IRVINE CA $
06/01/2015 INTUIT PYMT SOLN ACCT FEE $
06/01/2015 MACY S EAST NEWPORT BEACH CA $
06/03/2015 WEATHERVANE SEAFOOD REST KITT: $

06/03/2015 GULF OIL AMESBURY MA $
06/03/2015 ANGIES FOOD DINER INC NEWBURY! $
06/04/2015 USPS COM DC $
06/05/2015 ANJU KITTERY POINT ME $

06/05/2015 SZECHUAN TASTE NEWBURYPORT M, $
06/05/2015 THE HOLLOW CAFE AMESBURY MA $
06/05/2015 ATOMIC CAFE NEWBURYPORTMA  $
06/08/2015 KITTERY TRADING POST KITTERY ME $
06/08/2015 BRINE OYSTER NEWBURYPORTMA_ $
06/08/2015 FARLEYS OF NEWBURYPORT NEWBUI $
06/08/2015 POBERTS MAINE GRILL AND KITTER’ $
06/08/2015 PORTSMOUTH BREWERY PORTSMOU™ $
06/08/2015 17 STATE STREET CA NEWBURYPORT $
06/08/2015 THE JUICERY PORTSMOUTH NH $
06/08/2015 OLFY 149 NEWBURYPORT MA $
06/08/2015 KITTERY TRADING POST KITTERY M $
06/08/2015 ATOMIC CAFE NEWBURYPORTMA  $
06/08/2015 STARBUCKS KITTERY ME $
06/09/2015 COMCAST BOSTON CS IX NH $
06/09/2015 ACAPULCOS AMESBURY MA $
06/09/2015 PETSMART ING SEABROOK NH $
06/09/2015 AUTOZONE LAFAY SEABROOK NH $
06/10/2015 CVS NEWBURYPORT MA $
06/10/2015 SHELL OIL REVERE MA $
06/10/2015 SHUN FENG SEABROOK NH $
06/10/2015 FM STATION AMESBURY MA $
06/10/2015 THE HOLLOW CAFE AMESBURY MA $%
06/10/2015 LAZ PARKING BOSTON MA $
06/11/2015 9 TASTES CAMBRIDGE MA $
06/11/2015 NO 1 NOODLE HOUSE NEWTON MA $
06/11/2015 GOURMET DUMPLING HOUSE BOSTON $
06/11/2015 STP SHPFUEL DANVERS MA $
06/11/2015 STARBUCKS CAMBRIDGE MA $
06/11/2015 CITY OF NEWBURYPORT NEWBURYP §$
06/11/2015 CITY OF NEWBURYPORT NEWBURYP $
06/12/2015 BLACK COW TAP GRILL NEWBURYP $
06/12/2015 MICHAEL S HARBORSI NEWBURYPOR™ $
06/12/2015 17 STATE STREET CA NEWBURYPOR] $
06/12/2015 CHARLES SQUARE GARAGE CAMBRIC $
06/15/2015 GULF OIL CUMBERLAND RI $

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27.20
19.95
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06/15/2015 BAMBOO DEDHAM DEDHAM MA
06/15/2015 OVERDRAFT PD

06/16/2015 NORDSTROM 542 INDEPEN DANVERS
06/16/2015 USPS AMESBURY MA

06/17/2015 NATIONALGRID SYRACUSE NY
06/17/2015 NINE ELM AMERICAN BISTRO DANVEI
06/17/2015 AMAZON COM SEATTLE WA
06/17/2015 AMAZON COM SEATTLE WA
06/17/2015 AMAZON COM SEATTLE WA
06/17/2015 CUMBERLAND FARMS AMESBURY M,
06/17/2015 USPS COM DC

06/18/2015 CRATE BARREL KITTERY ME
06/18/2015 NONTD ATM DEBIT WITHDRAW LAFAY
06/18/2015 ELEGANT THEMES CA

06/18/2015 AUTOZONE 519 LAFAY SEABROOK NH
06/18/2015 FM STATION NEWBURYPORT MA
06/18/2015 THE HOLLOW CAFE AMESBURY MA
06/18/2015 NONTD ATM FEE

06/18/2015 CREDIT VISA FINAL CREDIT
06/18/2015 CREDIT REVERSE OD FEES
06/19/2015 KITTERY TRADING POST KITTERY ME 216.25
06/19/2015 SPICE THAI KITCHEN IPSWICH MA 107.60

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38.83
11.30
163.53
103.00
89.00
74.34
39.13
25.82
3.00
(414.24)
950.00)

06/19/2015 GULF OIL AMESBURY MA 34.82
06/19/2015 THE JUICERY PORTSMOUTH NH 17.00
06/19/2015 KMART NEWBURYPORT MA 10.70
06/22/2015 DICK S CLOTHING SPORTING SEABROC 436.98
06/22/2015 PAYPAL VOLLKOMMEND SAN JOSE C 247.00
06/22/2015 SHIO JAPANESE RESTAURA PORTSMC 182.01
06/22/2015 17 WALKER ST KITTERY ME 103.50
06/22/2015 BROOKSTONE 217 KITTERY ME 81.66
06/22/2015 IN SYNAPTIC3 ENGINEERIN NH 76.31
06/22/2015 MARSHALLS MARSHALLS NEWBURYP 52.79
06/22/2015 PETSMART SEABROOK NH 43.48
06/22/2015 EXXONMOBIL HAMPTON NH 30.05
06/22/2015 THE HOLLOW CAFE AMESBURY MA 28.23
06/22/2015 SHUN FENG SEABROOK NH 27.70
06/22/2015 AMAZON COM BILL WA 9.04
06/22/2015 NONTD ATM FEE 3.00
06/23/2015 ANJU KITTERY POINT ME 49.12
06/23/2015 ANGIES FOOD DINER INC NEWBURYI 33.35
06/23/2015 STONEWALL CAFE YORK ME 18.63
06/23/2015 ATOMIC CAFE NEWBURYPORT MA 4.27
06/24/2015 THE PORT TAVERN NEWBURYPORT 75.00

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08/25/2015 SUPINO S RESTAURANT DANVERS Mé $ 53.45
06/25/2015 CVS NEWBURYPORT MA $ 21.23
06/25/2015 CHOCOCOA BAKING CO NEWBURYP $ 8.67
06/26/2015 NORDSTROM 546 WORCESTE FRAMINC $ 150.85
06/26/2015 RIVERSIDE CYCLE NEWBURYPORT MSM $ 124.99
06/26/2015 ANTHROPOLOGIE 4 ANTHROPO NATIC $ 119.96
06/26/2015 BEST BUY NEWINGTON NH $ 99.99
06/26/2015 NAILS NEWBURYPORT MA $ 70.00
06/26/2015 STARBOARD GALLEY NEWBURYPOR $ 51.19
06/26/2015 GULF OIL AMESBURY MA $ 35.65
06/26/2015 TJ TJ MAXX FRAMINGHAM MA $ 34.99
06/26/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
06/29/2015 AT T BILL PAYMENT TX $ 260.66
06/29/2015 LULULEMON NATICK MALL MA $ 168.00
06/29/2015 SICHUAN GOURMET FRAMINGHAM MA $ 94.27
06/29/2015 NORDSTROM NATICK MA $ 81.81
06/29/2015 SHIO JAPANESE RESTAURA PORTSM $ 64.86
06/29/2015 BROWN SUGAR BY THE SEA NEWBUR $ 50.34
06/29/2015 AMAZON COM SEATTLE WA $ 37.02
06/29/2015 PRO CUT FRAMINGHAM MA $ 35.95
06/29/2015 EXXONMOBIL FAIRFIELD CT $ 34.60
06/29/2015 USPS COM DC $ 34.46
06/29/2015 PHO PASTEUR BOSTON MA $ 31.35 -
06/29/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
06/29/2015 GULF OIL AMESBURY MA $ 25.33
06/29/2015 EXXONMOBIL NORTH HA CT $ 20.00
06/29/2015 LAZ PARKING BOSTON MA $ 16.00
06/29/2015 SBARRO EAST BOSTON MA $ 15.16
06/29/2015 NORDSTROM NATICK MA $ 12.68
06/29/2015 STARBUCKS NEW CANAAN CT $ 12.02
06/29/2015 BEARD PAPA S BOSTON MA $ 11.36
06/29/2015 NONTD ATM FEE $ 3.00
06/30/2015 MAINTENANCE FEE $ 15.00
Total PERSONAL $ 13,279.15
July
INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 60,862.67
USAGE OF FUNDS
Fossa Business S 54,217.02
Clearly Personal S 13,676.50

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Unable to determine S 4,207.29
TOTAL USAGE OF FUNDS $ 72,100.81
07/01/2015 INTUIT PYMT SOLN ACCT FEE $ 19.95
07/02/2015 CHECKS #1627 $ 2,800.00
07/03/2015 AKUREYRARAPOTEK EHF AKUREYRI $ 123.17
07/06/2015 ZHU LI IAT PAYPAL $ 87.00
07/07/2015 MAL OG MENNING REYKJAVIK [SL $ 73.48
07/08/2015 KAUPMADURINN ISAFIRDI ISAFJORDUI $ : 21.66
07/08/2015 LYFJA LAUGAVEGI KOPAVOGUR ISL §$ 8.19
07/08/2015 ITUNES COM BILL CA $ 1.05
07/09/2015 UPS GA $ 48.45
07/09/2015 UPS GA $ 10.58
07/09/2015 UPS GA $ 7.07
07/09/2015 UPS GA $ 2.91
07/10/2015 ZO ON BANKASTRATI KOPAVOGUR IE $ 483.02
07/13/2015 COMCAST BOSTON CS IX NH $ 387.73
07/13/2015 AT T BILL PAYMENT TX $ 367.28
07/13/2015 KITTERY OUTLET KITTERY ME $ 344.99
07/13/2015 KITTERY TRADING POST KITTERY ME $ 145.57
07/13/2015 ROBERTS MAINE GRILL AND KITTER* $ 118.74
07/13/2015 J M FACTORY KITTERY ME $ 88.09
07/13/2015 LEVIS OUTLET KITTERY ME $ 84.38
07/13/2015 GULF OIL AMESBURY MA $ 40.25
07/13/2015 CHOCOCOA BAKING NEWBURYPORT $ 15.58
07/13/2015 ATOMIG CAFE NEWBURYPORT MA $ 14.86
07/13/2015 STARBUCKS KITTERY ME $ 13.92
07/14/2015 BRINE OYSTER NEWBURYPORT MA $ 268.80
07/14/2015 COLE HAAN KITTERY KITTERY ME $ 235.48
07/14/2015 DUTY FREE STORE REYKJANEBER IS $ 83.27
07/14/2015 KITTERY POINT ME $ 69.40
07/14/2015 SZECHUAN TASTE NEWBURYPORT M, $ 21.14
07/14/2015 USPS NEWBURYPORT MA $ 16.95
07/14/2015 CHOCOCOA BAKING NEWBURYPORT $ 12.68
07/14/2015 ATOMIC CAFE NEWBURYPORT MA $ 7.46
07/14/2015 CHOCOCOA BAKING NEWBURYPORT $ 2.68
07/15/2015 THE PORT TAVERN NEWBURYPORT ? $ 54.55
07/15/2015 FM STATION NEWBURYPORT MA $ 29.65
07/15/2015 ATOMIC CAFE NEWBURYPORT MA $ 7.16
07/16/2015 750 LAFAYETTE RD PORTSMOUTH NH $ 43.50
07/16/2015 COLBY FARM NEWBURY MA $ 33.38
07/16/2015 NONTD ATM FEE $ 3.00

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07/17/2015 61 HARRISON AVE BOSTON MA $ 203.00
07/17/2015 OFF FIFTH WRENTHAM MA $ 161.99
07/17/2015 RISTORANTE MOLISE AMESBURY MA §$ 87.70
07/17/2015 BROWN SUGAR BY THE SEA NEWBUF $ 83.16
07/17/2015 GULF OIL AMESBURY MA $ 414.22
07/17/2015 DUNKIN PORTSMOUTH NH $ 14.08
07/17/2015 DUNKIN NEWBURYPORT MA $ 4.28
07/17/2015 NONTD ATM FEE $ 3.00
07/20/2015 ELECTRONIC PMT-WEB PAYPAL INST $ 179.89
07/20/2015 MARKET SQUARE PORTSMOUTH NH $ 103.00
07/20/2015 CREW FACTORY STORE KITTERY ME $ 75.32]
07/20/2015 CEIA KITCHEN AND BAR NEWBURYF $ 67.29
07/20/2015 THE HOTEL PROVIDENCE RI $ 65.44
07/20/2015 EMPIRE GARDEN RESTAURANT BOST $ 56.05
07/20/2015 ASPIRE PROVIDENCE RI $ 53.38
07/20/2015 BR OUTLET USA KITTERY ME $ 48.60
07/20/2015 BROWN SUGAR BY THE SEA NEWB: $ 47.66
07/20/2015 USPS COM DC $ 43.70
07/20/2015 THE HOLLOW CAFE AMESBURY MA $ 36.33
07/20/2015 BOSTON COMMON PARK BOSTON MA $ 18.00
07/20/2015 BOSTON COMMON PARK BOSTON Mé $ 18.00
07/20/2015 NONTD ATM FEE $ 3.00
07/21/2015 BLACK COW TAP GRILL NEWBURYP: $ 110.63
07/21/2015 STONEWALL CAFE YORK ME $ 62.32
07/21/2015 SRARBUCKS CARD RELOAD WA $ 50.00
07/21/2015 CORNERSTONE OGUNQUIT ME 3 43.80
07/22/2015 AGAVE MEXICAN BISTRO NEWBURYF $ 128.16
07/22/2015 RISTORANTE MOLISE AMESBURY Mé $ 64.91
07/22/2015 LEOS HOUSE OF PIZZA NEWBURYPC $ 42.00
07/22/2015 SZECHUAN TASTE NEWBURYPORT WV $ 18.94
07/22/2015 ONLINE PAYMENT LONDON G BR $ 18.00
07/23/2015 BH PHOTO MOTO NY $ 3,976.52
07/23/2015 AMAZON COM SEATTLE WA $ 280.19
07/23/2015 THE HOLLOW CAFE AMESBURY MA $ 26.09
07/23/2015 MORNING BUZZ CAFE AMESBURY MA $ 21.98
07/23/2015 ATOMIC CAFE NEWBURYPORT MA 3 12.11
07/24/2015 BEST BUY NEWINGTON NH $ 171.96
07/24/2015 SHELL OIL NEWBURYPORT MA $ 40.04
07/24/2015 TS TJ MAXX SEABROOK NH $ 35.94
07/24/2015 ACH IAT DEBIT LI XIAO ZHU IAT PAY $ 33.17
07/24/2015 SHUN FENG SEABROOK NH $ 27.32
07/24/2015 AMAZON COM SEATTLE WA $ 11.95
07/24/2015 MORNING BUZZ CAFE AMESBURY MA $ 9.46
07/27/2015 SHIO JAPANESE RESTAURA PORTSM $ 146.39

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07/27/2015 GREENLAND GREENLAND NH $ 85.90
07/27/2015 PORTSMOUTH BREWERY PORTSMOU $ 84.85
07/27/2015 CIRCLE AMESBURY MA $ 39.12
07/27/2015 ITUNES COM BILL CA $ 38.97
07/27/2015 THE PORT TAVERN NEWBURYPORT Nv $ 38.50
07/27/2015 THE HOLLOW CAFE AMESBURY MA $ 27.43
07/27/2015 SBARRO EAST BOSTON MA $ 25.41
07/27/2015 SUPERCUTS MA $ 23.95
07/27/2015 17 STATE STREET CA NEWBURYPOR] $ 23.17
07/27/2015 CHOCOCOA BAKING NEWBURYPORT $ 14.18
07/27/2015 JING LONG CHEN NEWBURYPORT M$ 40.35
07/27/2015 USPS COM DC $ 10.10
07/27/2015 ITUNES COM BILL CA $ 4.23
07/27/2015 PAY BY PLATE MA $ 4.00
07/27/2015 CITY OF PORTSMOUTH NH $ 1.25
07/28/2015 AM! AMICA INSURANCE RI $ 415.20
07/28/2015 THE HOLLOW CAFE AMESBURY MA $ 53.20
07/28/2015 APA ONBOARD DUTY FREE KEFLAVIk $ 26.18
07/29/2015 TIGER ISLAND REYKJAVIK ISL $ 22.37
07/30/2015 ISAFJARDARAPOTEK ISAFJORDUR ISI $ 3.96
07/31/2015 HEILSUHUSID LAUGAVEGI REYKJAVIK $ 83.19
Total PERSONAL $ 13,676.50
Total

INCOMING FUNDS
INCOMING FUNDS - STEVEN BARLOW S 435,552.40

USAGE OF FUNDS
Fossa Business 5 288,916.53
Clearly Personal S 116,137.07
Unable to determine S 53,414.01
TOTAL USAGE OF FUNDS § 458,467.61

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Bank

Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

America’s Most Convenient Bank® STATEMENT OF ACCOUNT
ENCOMPASS COMMUNICATIONS INC Page: 3 of 12
Statement Period: Feb 01 2015-Feb 28 2015
Cust Ref #:
Primary Account #:
DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE DESCRIPTION AMOUNT
27 eTransfer Credit, Online Xfer 98.84
Transfer from CK
2/19 eTransfer Credit, Online Xfer 4,580.00
Transfer from CK
2/20 eTransfer Credit, Online Xfer 1,130.00
Transfer from CK
2/20 eTransfer Credit, Online Xfer 370.61
Transfer from CK
2/24 eTransfer Credit, Online Xfer 166.88
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2/25 eTransfer Credit, Online Xfer 934.64
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Subtotal: 45,965.19
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those cleared checks in the Account History section of Online Banking. :
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2/6 1609* 49.00 2/13 1614* 630.00
2/13 1610 1,120.00
Subtotal: 3,679.00
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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 123 of 208
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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 124 of 208

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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 125 of 208

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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 129 of 208

From: stevebariow< bar! ame>

Subject: Budget

Date: January 20, 2015 at 4:05:39 AM EST

To: | JIAN Lin <ilin@brandintent.com>, | JIAN <ilin@fossaltd.com>

| Jian:

| know you are working very hard and making great progress. | need to have a better
understanding of the spending to date and going forward. Please send me details on the
following:

WIRE TRANSFER? : $324.446-Jan
WIRE TRANSFER? $1,982.11  7-Jan
WIRE TRANSFER? $11,513.0012-Jan
WIRE TRANSFER? $4,000.0012-Jan
WIRE TRANSFER? $12,500.0013-Jan
WIRE TRANSFER? $4,650.0013-Jan
WIRE TRANSFER? $1,024.0015-Jan
WIRE TRANSFER? $577.1615-Jan
WIRE TRANSFER? $280.5015-Jan
WIRE TRANSFER? $228.5820-Jan
WIRE TRANSFER? $315.6620-Jan
WIRE TRANSFER? $3,247.6620-Jan

This is an additional $44,859.11 which brings us to $170,070.74 which is over 3x our original
budget. | really need to better understand our cash needs going forward and more
importantly our expectation on selling the first shipment to take the pressure off of my
funding. | do not have unlimited funds for keeping Fossa afloat and | am getting a bit
concerned. ! am sure that the investments to date are the right strategy but we need to find
me some relief ASAP. Also, we need to hire the bookkeeper as soon as you return so we can
keep everything in order - please make this happen. Thanks.

Regards,

Steve

Steve Barlow

131 Laurel Road, Chestnut Hill, MA 02467
cell +1.617,733,3927 fax +1.617.738.8913
steve@barlow.name
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Case 1:16-cv-11914-LTS

From: stevebarlow<sbarlow@fossaltd.com>

Subject: other items
Date: February 16, 2015 at 11:26:04 PM EST
To: I JIAN <jlin@fossaltd.com>

I Jian:

Please send me details on the following expenses. Thanks.
WIRE TRANSFER
WIRE TRANSFER
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Regards,
Steve

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$324.446-Jan

$1,982.11 7-Jan
$4,000.0012-Jan
$11,513.0012-Jan
$4,650.0013-Jan
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$577.1615-Jan
$1,024.0015-Jan
$228.5820-Jan
$315.6620-Jan
$3,247.6620-Jan
$288.99 21-Jan
$315.6621-Jan
$566.1821-Jan
$575.7621-Jan
$217.6622-Jan
$224.1922-Jan
$304.1922-Jan
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Steve Barlow » Fossa LTD

Executive Director / Founder

P.O. Box 801, The Valley, Anguilla, British West Indies Al-2640
s f

www.

fossaltd.com
usa +1.617.733,3927

From: steve barlow <sbarlow@fossaltd.com>
Subject: Re: otheritems
Date: February 16, 2015 at 11:27:59 PM EST

To: | JIAN <ilin@fossaitd.com>
andthis

DEBIT $4,500.00
- [celandAir and 50% deposit ($3250.00 with tax) on Oven???

Regards,

Steve
Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 133 of 208

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Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 134 of 208

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Case 1:16-cv-11914-LTS Document 5

From: stevebarlow<sbarlow@fossaltd.com>
Subject: Update

Date: April 11, 2015 at 11:58:23 PM EDT
To: I Jian Lin <ilin@fossaltd.com>

I Jian:

Please send me an update on these expenses:

WIRE TRANSFER
WIRE TRANSFER
WIRE TRANSFER
WIRE TRANSFER
WIRE TRANSFER

Regards,
Steve

Steve Barlow « Fossa LTD

Executive Director / Founder

P.O. Box 801, The Valley, Anguilla, British West Indies Al-2640
sbariow@fossaltd.com

www. fossaltd.com

usa +1.617,733.3927

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$217.00 6-Apr
$143.75 8-Apr
$5,530.00 10-Apr
$500.00 10-Apr
$384.15 10-Apr
Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 136 of 208

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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 137 of 208

Forwarded conversation
Subject: Support (receipts/invoices/POs) for business expenses

From: Sonya Livshits <sonya.business@gmail.com>
Date: Mon, Aug 10, 2015 at 11:21 AM

To: I Jian Lin <ilin@fossaltd.com>
Ce: stevebarlow<sbarlow@fossaltd.com>

TJian:
During our last call we agreed that you'll provide me with the box of all the receipts you have, but only after they've been organized/translated by you.
Since I have found a potential solution to deal with Icelandic language on my end, I would suggest that you mail/fedex all the support you have "as is".

I will review it, organize and document it appropriately. Some clarifications might be needed from you at the end of this process- but it will require aa significantly less amount of time and
effort from your side as compared to organizing/translating everything.

Please, send the documents to the following address:
Attn: Sonya Livshits

Given the importance of the docs, please, use trackable mailing option (FEDBX/UPS/USPS certified) to make sure that it is not getting lost in the mail.

Thank you in advance
Sonya

Sameera

From: Sonya Livshits <sonya.business ail.com>
Date: Mon, Aug 10, 2015 at 8:50 PM
Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 138 of 208

To: I Jian Lin <ilin@fossaltd.com>
Ce: stevebarlow<sbarlow@fossaltd.com>

I Jian:
I have great news for you!

Apparently Steve will be coming to the warehouse daily in the near future and he has kindly volunteered to make for me copies of all the invoices you
have got from your Icelandic trips so far.

Please, advise where in the warehouse can he find the box with all the invoices/receipts?

From: Sonya Livshits <sonya.business@gmail.com>
Date: Wed, Aug 12, 2015 at 10:53 AM

To: I Jian Lin <ilin@fossaltd.com>

Ce: stevebarlow<sbarlow(@fossaltd.com>

I Jian: please Steve know where he can find the box with all the receipts?
sonya

Seem

From: I Jian Lin <jlin@fossaltd.com>

Date: Wed, Aug 12, 2015 at 12:22 PM

To: Sonya Livshits<sonya.business@gmail.com>
Cc: stevebarlow<sbarlow@fossaltd.com>
Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 139 of 208

My bedroom

| Jian Lin » Fossa LTD

Executive Director/Founder

P.O.Box 801, The Valley, Anguilla, British West Indies Al-2640
llin@fossaltd.com

www.fossaltd.com

usa +1.617,733.2796
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Bank

America’s Most Convenient Bank®

ENCOMPASS COMMUNICATIONS INC
18 GRAF RD UNIT 26

STATEMENT OF ACCOUNT

Page:

Statement Period: Jun 01 2015-dum 30.2015

lof l4

NEWBURYPORT MA 01950-4032 Cust Ref #:
Primary Account #:
Business Core Checking
ENCOMPASS COMMUNICATIONS ING Account iia
ACCOUNT SUMMARY
Beginning Balance 7,072.64 Average Collected Balance 6,082.62
Electronic Deposits 50,397.60 Annual Percentage Yield Earned 0.00%
Other Credits 3,508.20 Days in Period 30
Checks Paid 4,995.00
Electronic Payments 18,112.30
Other Withdrawals 25,754.00
Service Charges 15.00
Ending Balance 12,102.14
DAILY ACCOUNT ACTIVITY
Electronic Deposits .
POSTING DATE DESCRIPTION AMOUNT
6/4 eTransfer Credit, Online Xfer 8,375,00
~~ Transfer from CK
6/11 eTransfer Credit, Online Xfer 2,000.00
Transfer from CK’
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Transfer from CK
6/17 eTransfer Credit, Online Xfer 2,000.00,
Transfer from .
6/22 eTransfer Credit, Online Xfer 1,343.60
. Trensfer from CK .
6/25 eTransfer Credit, Online Xfer 6,525.00
Transfer from CK
6/29 eTransfer Credit, Online Xfer 8,415.00
Transfer from CK
6/29 eTransfer Credit, Online Xfer 3,049.00
Transfer from CK
6/29 eTransfer Credit, Online Xfer 1,190.00
Transfer from Xp :
Subtotal: $0,397.60
Other Credits ©
POSTING DATE DESCRIPTION AMOUNT
6/1 WIRE TRANSFER INCOMING, VAXTASAMNINGUR VESTFJARDA 2,743,96
6/18 CREDIT, VISA FINAL CREDIT 414.24
6/18 CREDIT, REVERSE OD FEES 350.00
Subtotal: 3,508.20

Call 1-800-747-7000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bonk Deposits FDIC insured | TO Bank, N.A. | Equal Housing Leader te

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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 145 of 208

From: | JIAN Lin <ilin@brandintent.com>
Subject: Skin2

Date: October 23, 2014 at 3:19:25 PM EDT
To: Steve Barlow <sbarlow@fossaltd.com>

| Jian Lin
CEO, Brandintent
www.brandintent.com
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Case 1

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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 157 of 208

From: | JIAN Lin <ilin@brandintent.com>
Subject: 2

Date: November 14, 2014 at 4:02:05 AM EST
To: Steve Barlow <sbarlow@fossaltd.com>

| Jian Lin
CEO, Brandintent
www.brandintent.com
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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 169 of 208

From: | Jian Lin <ilin@fossal >
Subject: Status report

Date: January 15, 2015 at 6:14:42 PM EST
To: Steve Barlow <sbarlow@fossal m>
Hi Steve,

Today the windchill factor brought the walking temperature of -10 C in Reykjavik.

The last several days has been very productive but took up all the hours through the days.
Today, was a crazy day of all since this visit to Reykjavik.

During the meeting this afternoon, he asked what brought me back to iceland? | told him
the short version of the Murr SAGA and what Fossa is is trying to establish in Iceland, he
then told me that his Childhood friends own and operating a pet treat company in Reykjavik
since one year ago, He immediately call his friends and asked if we can come visit. What |
saw was a complete automated fish skin production facility for pet chews.

They have way too many products and smaller shorter plastic container tubes similar to
Pokadogs. Their products are not as refined as what we are going o produced but have
wide range of orderings to make the first wave launch in the USA.

| am waiting for the pricing to arrive from them as make decision as what path to take with
them next meeting.

Hope alls well.

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Will be up north tomorrow on till next week.

!Jian

i Jian Lin ° Fossa LTD/Fossa Enterprises, ehf

Executive Director / Founder

P.O. Box 801, The Vailey, Anguilla, British West Indies Al-2640
Nin@fossaltd.com

www. fossaltd.com

usa +1,617.733.2796

iceland +1.354.848.7698

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America’s Most Convenient Bank? . AF STATBMENT OF ACCOUNT

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ENCOMPASS COMMUNICATIONS INGE,
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Page: lof i4
Statement Period: May 01 2014-May 31 2014

NEWBURYPORT MA 01950-4032 - i © Cust Ref #:
z Primary Account #:
Business Core Checking f
ENCOMPASS COMMUNICATIONS INC " Account ‘hia
ACCOUNT SUMMARY eo 2 :
Beginning Balance 8,846.63 Average Collected Balance 20,411.91
Electronic Deposits ‘s ‘9,856.60 Annual Percentage Yield Earned 0.00%
Other Credits : 46,130.00 Days in Period 31
Checks Paid + 4,635.00
Rlectronic Payments 13,663.32
Other Withdrawals . . 8,015.00
Ending Balance ‘ 38,519.91
DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE DESCRIPTION . AMOUNT
5/19 CCD DEPOSIT, BANKCARD BTOT py 9,686.60
5/19 POS CREDIT, AUT 051714 DDA PURCH REF 170.00
LORD TAYLOR 612 BOSTON *MA
Subtotal: 9,856.60
Other Credits , ‘ :
POSTING DATE DESCRIPTION - AMOUNT
$/21 WIRE TRANSFER INCOMING, ZENWOTRONIC ENTERPRISES CO ADD.RM 6 46,130.00
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“these cleared checks in the Account History section of Online Banking.
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5/5 1569 195.00 5/9 1571 1,500.00
5/5 1570 140.00 §/27 1572 2,800.00
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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 181 of 208

Sent from my iPhone

On Sep 18, 2015, at 5:07 PM, omarjons <omarjons@simnet.is> wrote:

Hi ijian, not good to hear.

Then it would maybe be better if Sirry and Sonya be in direct contact. Sirry could pay all due invoices and make estimated
cost reports for Steve with information from me ? What do you think ?

lt fooks like she does not trust me ?

Even there the estimated cost in last report is a bit more, no payments are made except there is a invoice and bill to
pay?

Sem trom Samsung Mobis

Original message ----—

From: | Jian Lin <ilin@fossaltd.com>
Date:18/09/2015 20:26 (GMT+00:00)

To: Omar Mar Jonsson <omarjons@simnet.is>
Ce:

Subject: Fwd: Due in September

OMar,
Steve does not trust me on the list of funds needed, he wants to have invoices from the vendors.
1 Jian

I Jian Lin + Fossa Ltd.

Executive Director/Faunder

P.O.Box 801, The Valley, Angulila, British West indies Al-2640
fin@fossaltd.com

www. fossaltd.com

(0) #4.617.543.6411 = (c) +1 617.852.3315 © (c) +4 354.848.7098

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dissemination, distribution, or copying of this ication is strictly lf you have received this communication in error, please notily us

immediately by telephone. email, delete this email and destroy any copies and retum the original message to us ot (he above email address,

Begin forwarded message:

From: steve barlow <sbarlow@fossaltd.com>
Subject: Re: Due In September

Date: September 18, 2015 at 4:20:56 PM EDT
To: | Jian Lin <ilin@fossaltd.com>

Cc: Sonya Livshits <slivshits@fossaltd.com>

| Jian:

Please work with Sonya. She will manage all of these next week through the new bank and online with bill pay. |
sugges! to get ahead of this to have all invoices sent to her ASAP. Thanks.

Steve Barlow + Fossa LTD

P.O. Box 801, The Valley, Anguilla, British West Indies Al-2640
sbarlow@fossaltd.com

www. fossaitd.com

usa +1.617.733.3927

Confsentality Statement The wformation in this message. inctucing af of ds contents and any files tr wrth it is 5 pgyed. CO! Ai ERernpy

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immediately by telephone. email deteie this email and destroy any copies and rewurn the original massage to us al Ine above emai address

On Sep 18, 2015, at 4:11 PM, I Jian Lin <iin@fossaltd com> wrole:

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Lt
HQIYXY
Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 183 of 208

From: | Jian Lin <ilin@brandintent.com>
Subject: talk

Date: January 17, 2015 at 7:58:26 PM EST
To: Steve Barlow <sbarlow@fossaltd. com>

Steve,

We must lock up the horns in Iceland. Fish skin is dead. Hanna is not ready for what we want
(met with her today and learned lots). CanPet sold me out. | will be back home to receive
the Hanna shipment and regroup with Brian, | will turn around and come back here to start
production and prepare for next year collection. Need your support.

I Jian

| Jian Lin » Brandintent

President, Strategic + Creative Director
ilin@brandintent.com
www.brandintent.com

(0) +1,978.255 4528 « (c) 617.733.2796

18 Henry Graf Road Suite 26, Newburyport, Massachusetts 01950 USA
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From: | Jian Lin <ilin@brandintent.com>
Subject: Re: Funding and record keeping
Date: September 13, 2014 at 10:48:25 AM EDT
To: stevebarlow<steve rlow,name>

Hi Steve, .

Of course, and agreed with all your concerns and requirements. The initial $50K was estimated to obtain the horns including "buying" the raw
materials from slaughter house and other related expenses. As we learned more during my visit to Iceland, we have learned more about the
mechanics of the business as well as identified new opportunities form this initial business focus. Yes, it is quickly became clear that to kick off
this business and lock up the market will require additional funding to realized. IN addition, Due to the slaughter season started the week |
returned from Iceland, Each everyday had been crazy and stressful to manage an efficient and effective way to collect all the raw material we
possibly can. And doing so, we encountered rush charges and and VAT (not anticipated initially).

The registration procedure from Shiran was a guideline and each case are being considered individually. With the "off shore” entity, Iceland
government are taking extra steps to process and review, awaiting a response reply back some time next week to move forward on this issue. |
had convinced the container rental company to delay the issuing of written invoice until we have our [ID number issued.

plans is to pay the 4, back as soon as cash comes In as inar left this problem and leave me hanging with over
goal is to convert this inventory as fast as possible and pave the road and re-establish credibility with o launch Fossa product offerings
and partnership with ! This is critical in paving a foundation for my visit next week to meet with

i have envelope full of receipt from my trip to Iceland including the tail end of extension expenses, Since the day returned from iceland | have
been completed consumed by the operation and logistics of Horn harvesting and negotiation. We are still not at the conclusion of the phase
one of this venture which is to lock up the supply source and establish protocol necessary to transport and store. This week is to clarify the
phase two of the project to define and conclude the transport and storage logistics either in the Westfjord or finding new facility in the north
close by the slaughterhouse. :
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| have been very strict and careful on spending the cash and at times overly stressed about it. As you know that | will not spend any funds
unless it is necessary, | do not know if you have seen the Fossa filing crate in my dining room with color coded folders? | will try to keep a
detail records and receipts as much as possible. Since we are not officially a company, all business conducts at this point with icelandic vendors
have been through Brandintent/Encompass. As we both acknowledge that moving forward with the Fossa entity is also top priority.

We are about to make plans to Iceland again, It will be an extended stay this time to ensure all matters can be executed during our visit. | will
identify a cheaper alternative to hotel and guesthouse if possible but will will definitely need a rental car during our stay.

The next expense will be used to cover the Iceland visit, Hanna’s deposit, Bragi's fees and additional container rental (once the additional 40"
can be located).

| already have Omar trying to establish a back up plan in case Shiran go dark, trying to identify the contact information for Jon and Gudni who
had came to agreement with us during my last visit but Shiran would not provide me with their direct contacts.

| have Skype call daily with each and every parties involved in this venture in iceland, making sure everything is moving the right direction with
good progress. Moving forward, let's try to have a weekly budget review but | would like spend any funds without informing you and get your
approval first. ’

*

Please call me if you have any additional questions.

While

i Jian Lin + Brandintent
President, Strategic + Creative Director
in@brandl to!

www.brandintent.com
(0) +1.978.255.4528 + (c) 617.733.2796

48 Henry Graf Road Suite 26, Newburypori, Massachusetts 01950 USA
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use of the individual or entity to which it is addressed. If the reader of this message Is not the intended recipient or not the employee or agent responsible for delivering the message to the Intended recipient, you

are hereby notified that any dissemination, distribution, or capying of this communication Is strictly prohibited. If you have received this communication in error, please notify us immediately by telephone, email, delete this
email and destroy any copies and return the original message to us at the above email address.

On Sep 13, 2014, at 9:36 AM, stevebarlow wrote:
1 Jian:

| have a few thoughts on funding. Firstly, it seems that the need for funding is going to go far beyond the original $50k we anticipated. | will
need to liquidate some stock which will have a tax impact and loss of dividend income. As some compensation for this | would like 10% interest
on monies put into Fossa until repaid. Also, | would like “first monies out" to cover all my Fossa investments and Murr loans and expenses
($40k+ listed in the Excel spreadsheet). | think considering the large monetary exposure | have taken and continue to take that this above is a
fair payout for my cost and risk.

‘Also, there are a lot of moving pieces and expenses and | would like to start some record keeping for us. Please send me invoices and receipts

for all payments to date and on a going forward basis. This is a good practice for us as we will need this when Fossa is organized in Anguilla
and | will take this task on.

Also, | am concerned that our cash flow needs will continue to grow beyond our budget with more examples like VAT, container delayed
shipping, etc. Therefore please help plan for some cash flow events that can lessen the need for cash loans if possible. For example, what is the
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plan around the relabeling of Murr? When and how much cash income can we expect for the $6.5k loan?

Finally, | would like to better understand the timing of getting a corporate number to avoid VAT payments. | thought the document sent from
Shiran said it takes 5 to 7 days to process our registration for $3.2k & $1.5k?

Also, | would like to get the VAT monies back to me rather than into Fossa. Anyway, | think it is important to be very organized now as there are
a lot of moving pieces so lets start the accounting ASAP. You have a lot on your plate so please send me scans of all the invoices and receipts
and | will set up files for us. Also, please keep a habit of sending me emails of upcoming expenses and then when expenses hit our accounts
and then invoices and receipts.

Please review the following for completeness and send invoices and receipts when you can. Also, what is the amount to hit TD on Monday and
what is the breakdown? Please send invoices and receipts for this as well.

EXPENSES TO DATE FOSSA $19,288.94 DATE STATUS
— $38.94 reciept on =
MURR LABELS $6,500.00

ICELAND COMPANY REG & FILING $3,200.00

ATTORNEY ICELAND $1,550.00

TICKET CHANGE $1,600.00

BRAGI (GAS & HOTEL) $400.00

HOTEL (3 EXTRA DAYS) $650.00

FLIGHT FROM Isafjurdor $350.00
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Finally, can you send an email at the end of every week which is a short status update and open issues and then items for the week ahead.
There are many things happening and | think this will help us keep focused and abie to prioritize. Thanks.

Steve Barlow

131 Laurel Road, Chestnut Hill, MA 02487
cell +1.617.733.3927 fax +1.617.738.8913
steve@barlow.name
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Ot
_ HQMYXy

From: Sonya Livshits <sonya.business@gmail.com>
Date: Tue, Aug 4, 2015 at 7:17 AM

Subject: Re: Follow up on today's call
To: Fossa <ilin@fossaltd.com>

Cc: stevebariow<sbarlow@fossaltd.com>

| Jian, sorry for that.

It must have been my misunderstanding.

Thank you for correcting me.

Sonya

On Mon, Aug 3, 2015 at 9:50 PM, Fossa <ilin@fossaltd.com> wrote:

Sonya, | did not say | do not recognize these items ( except the $700 withdraw). What | told
you was that I do not have the document in front of me to provide information. There are

several items in April | have not gone over the details and that does not mean | do not
recognize them.

Sent from my iPhone

> On Aug 3, 2015, at 8:38 PM, Sonya Livshits<sonya,business@gmail.com> wrote:

>

> | Jian,

>

> Thank you for the time.

>

> Below is the summary of items discussed:

>

> 1) Explanations of expenses incurred so far -

> A revised PL report will be sent out on Wed to reflect clarifications you provided today.
> Still open:

> Jan 6 - $324.44 | Jian does not recognize it. Is it Steve's personal?

> Feb 2 - $3,060 - is it Omar's salary?

> Feb 26 - $1,400 - MAST export certification filing fees?

> Mar 19- $700 (debit transactions) - | Jian does not recognize it. Is it Steve's personal?
> April 1 - $3,000 (debit transactions) - | Jian does not recognize it. Is it Steve's personal?
> See Steve's email from July 20th regarding expenses gap.

>

> 2) Providing paper support for expenses incurred so far:

> Agreed that you'll provide me with the box of all the receipts you have (after they've been
organized by you).

>

> 3) Future reporting - you'll copy me to all your future communication with Steve
regarding your expense reporting.
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Fossa Ltd. EXPENSE REPORT _ perion| 11/01/15! 11/31/15 |
Purpose of Trip| Explanation Miscellaneous Business Expenses
ce oo bocce . i . a
NAME _illJian Lin Sales Meeting(s) i : _
i j
THE Trade Show : _.
DEPARTMENT _/Admin Conference
-LOCATION LUSA : Newburyport, MA Strategic Partner Meeting|x
i
“TELEPHONE '617.543.6111 Product Training
Board Meeting
- aa Other Meeting
wee Other | Misc busi Pp
TRAVEL AND ENTERTAINMENT
_ A B c D E F G H
ee _ AIRLINE | TRANS- BUSINESS
DATE DESCRIPTION MISC TICKETS {PORTATION| HOTEL |BREAKFAST| LUNCH DINNER | ENTERTAIN TOTAL
01-Nov-15 |Design Meeting with Martin at Grog $29.56 $29.56
11/2/2015}Staples, tape, paper, flies, supplies for workers $75.74 $75.74
02-Nov-15 [CVS washing Soap for warehouse floors $9.18 $9.18
02-Nov-15 |Dunkin’ Donuts for workers $14.98 314.98
02-Nov-15 {State Street Cafe meeting w/ web coding guy $23.30 $23.30
03-Nov-25 |Master boxes emergency supply - PakMall $66.83 $66.83
03-Nov-15 |Dunkin’ Donuts for workers $18.29 $18.29
04-Nov-15 [PFX meeting wth Steve -Cup and Saucer $31.88 $31.88
04-Nov-15 | Dunkin’ Donuts for workers $19.35 $19.35
05-Nov-15 [Kelly's Hardware, masks and gloves for workers $26.75 $26.75
11-May-15 |Dunkin’ Donuts for workers $9.78 $9.78
06-Nov-15 [CVS Cleaning Supplies for Warehouse $59.68 $59.68
07-Nov-15 |Kelly's Hardware, Horn cleaning tools - brushes $16.98 $16.98
09-Nov-15 {Dunkin’ Donuts for workers $14.63 $14.63
08-Nov-15 |Leos House of Pizza (per Steve, first major shipment for workers) $91.49 $91.49
08-Nov-15 {Kelly's Hardware, Horn cleaning tools - $15.26 z $15.26
11-Nov-15 |Salt - design meeting with Martin $61.40 $61.40
12-Nov-15 {Kelly's Hardware, respirators $25.91 $25.91
12-Nov-15 |Dunkin’ Donuts for workers $18.29 $18.29
15-Nov-15 {Lowe’s — buffer and saw discs for horns $208.96 $208.96
16-Nov-15 [Dunkin’ Donuts for workers $18.29 $18.29

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18-Nov-15 |Dunkin’ Donuts for workers $19.35 $19.35
19-Nov-15 |Dunkin’ Donuts for workers $25.64 $25.64 I
19-Nov-15 |Home Depot - hose, brushes, papertowel. supplies $53.75 $53.75
20-Nov-15 |Kelly’s Hardware, brushes and gloves $57.91 $57.91
21-Nov-15 |Attika Club, Emmanuel and Josetyn's birthday $150.00 $150.00
24-Nov-15 |Motortown auto parts, gloves and hoses for warehouse $63.59 $63.59 .
24-Nov-15 |Kelly’s Hardware, respirators $25.91 $25.91 {
25-Nov-15 |Kelly's Hardware, brushes and gloves $20.97 $20.97 i
25-Nov-15 |Leos House of Pizza (Thanksgiving dinner for workers) $84.00 $84.00
$0.00
$0.00
seaman ee $0.00
ee, TOTALS $961.42 $0.00 $0.00 $0.00 $181.90 $152.93 $61.40 $0.00 $1,357.65
Car allowance = $ .565 / mile $961.42 $396.23 | $0.00 $1,357.65
airport tolls + miles = $12.75 _ LESS EXPENSE ADVANCA $0.00 _
vee ce ee sunny when nentanninninnnee ite ST SST CS -
EMPLOYEE SIGNATURE:
AUTHORIZATION SIGNATURE: BALANCE DUE: | $1,357.65

Case 1°T6-cV-TT9T4- DUGdmaNbe@, Filed T004/io” Page TYR ioaVe massachusetts | &

CIVIL ACTION” :
COVER SHEET Superior Court Department Vv
( ly _ ? ~] 26 (~ County: Suffolk
PLAINTIFF(S) DEFENDANT(S)
Fossa Ltd., lcelandicPLUS LLC and Steven Barlow | Jian Lin and
Encompass Communications, Inc. d/b/a “Brandintent"
ATTORNEY, FIRM NAME, ADDRESS AND TELEPHONE ATTORNEY (if known)

Valentin Gurvits - Boston Law Group, PC
825 Beacon Street, Suite 20, Newton, MA 02459 — 617-928-1804

Board of Bar Overseers Number 643572

Origin code and track designation

Place an x in one box only: L 4. F04 District Court Appeal c. 231, s. 97 & 104 (After
Bd 1. F01 Original Complaint trial) (X)
LJ 2. F02 Removal to Sup. Ct. C. 231, s. 104 CJ sé5. F05 Reactivated after rescript; relief from
(Before trial) (F) judgment/Order (Mass. R. Civ. P. 60) (X)
(1) 3. F03 Retransfer to Sup. Ct. C. 231, s. 102C (X) {J 6.E10 Summary Process Appeal (X)
TYPE OF ACTION AND TRACK DESIGNATION (See reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE?

Breach of fiduciary duty, unjust
enrichment, fraud, breach of
B99 contract (F) (x ) Yes {  )No

The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine moneys damages. For this
form, disregard double or treble damage claims; indicate single damages only:

TORT CLAIMS
(Attach additional sheets as necessary)

A. Documented medical expenses to date: wok

Total hospital expenses

Totat Doctor expenses

Total chiropractic expenses

Total physical therapy expenses

9 PF YN =

Total other expenses

Documented lost wages and compensation to date

Documented property damages to date

Reasonably anticipated future medical and hospital expenses
Reasonably anticipated lost wages

ARHHA AHHH HAH

mm oo

Other documented items of damages (describe)
G. Brief description of plaintiff's injury, including nature and extent of injury (describe)
Defendant received funds from Plaintiff through fraud and misrepresentation and used them for personal gains instead of business purposes.

$ Atleast $200,000
TOTAL $ At leas’

CONTRACT CLAIMS
(Attach additional sheets as necessary)

Provide a detailed description of claim(s):

Defendants promised to use funds for business purposes but instead used it for personal purposes
TOTAL $ At least $200,000,’

PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR COURT DEPARTMENT:

“1 hereby certify that | have complied with the requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution
(SJC Rule 1:18) requiring that | provide my clien 5 win information about court-connected dispute resolution services and discuss with

them the advantages and disadvantages of s pasthods. ”
Signature of Attorney of Record UP ee DATE: 08/31/2016
{ HEREBY ATTEST AND CERTIFY ON’

Sept. 27, 2016 THAT THE
FOREGOING DOCUMENT IS A FULL, |
TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN
CLERK / MAGISTRATE
SUFFOLK SUPERIOR CIVIL COURT

agsh . Clerk

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COMMONWEALTH OF MASSACHUSETTS
SUPERIOR COURT

SUFFOLK, ss.

FOSSA LTD., ICELANDICPLUS LLC and
STEVEN BARLOW,

V.

Plaintiffs,

I JIAN LIN and
ENCOMPASS COMMUNICATIONS, INC.,

Defendants,

VS Dist * 16-ev- igi

Case No. 1684-CV-02726

NOTICE OF FILING OF DEFENDANTS’
NOTICE OF REMOVAL TO FEDERAL

COURT

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TO: THE CLERK OF THE SUPERIOR COURT OF MASSACHUSETTS, SUFFO

COUNTY

PLEASE TAKE NOTICE that on September 21, 2016, Defendants filed the Notic&

to Federal Court attached hereto as Exhibit 1.

Dated: September 21, 2016

| HEREBY ATTEST AND CERTIFY ON’

Sept. 27, 2016 THAT THE
FOREGOING DOCUMENT IS A FULL,
TRUE AND CORRECT COPY OF THE
ORIGINAL ON FILE IN MY OFFICE,
AND IN MY LEGAL CUSTODY.

MICHAEL JOSEPH DONOVAN

CLERK / MAGISTRATE
SUFFOLK SUPERIOR CiVIL COURT

DEPARTMENT OF THE T COURT

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F Rergoval

Respectfully submitted,

me,

? ~,
BO#649304)

Mitchell J. Matorin (B
Matorin Kaw Office, LLC
18 Grove Street, Suite 5
Wellesley, MA 02482

T: (781) 453-0100

F: (888) 628-6746
E: mmatorin@matorinlaw.com

Counsel for Defendants I Jian Lin and
Encompass Communications, Inc.
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Certificate of Service

I certify that on September 21, 2016, I served the foregoing document on counsel for Plaintiffs in
this action, via first-class mail, postage pre-paid, addressed as follows:

Valentin D. Gurvits
Matthew Shayefar

Boston Law Group, PC

825 Beacon Street, Suite 20
Newton Centre, MA 02459

Lege a

“Mitchell J flan (BBO# 649304)\,

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IN THE UNITED STATES DISTRICT COURT Oo ay

FOR THE DISTRICT OF MASSACHUSETTS a0 ES

PS FE

FOSSA LTD., ICELANDICPLUS LLC and me Some

STEVEN BARLOW,
Plaintiffs, Case No. 1:16-ev-11914
(Massachusetts Superior Court, Suffolk County,
C.A. No. 1684-CV-02726

Vv.
I JIAN LIN and DEFENDANTS’ NOTICE OF REMOVAL
ENCOMPASS COMMUNICATIONS, INC., TO FEDERAL COURT

Defendants,

TO: THE CLERK OF THE UNITED STATES DISTRICT COURT IN AND FOR THE
DISTRICT OF MASSACHUSETTS

PLEASE TAKE NOTICE THAT Defendants in the above-entitled matter hereby remove
to this Court the state court action described below.

Defendants I Jian Lin (“Lin”) and Encompass Communications, Inc. (“Encompass”)
(collectively, “Defendants”), hereby give notice that this action is removed to the United States
District Court for the District of Massachusetts from the Massachusetts Superior Court, Suffolk
County. Pursuant to 28 U.S.C. § 1441, Defendants state as follows:

State Court Action: Lin and Encompass are named as defendants in a civil action filed
in the Massachusetts Superior Court, Suffolk County, styled Fossa Ltd., IcelandicPlus LLC and
Steven Barlow v. I Jian Lin and Encompass Communications, Inc., C.A. No. 1684-CV-02726.

Commencement of State Court Action: The state court action was commenced when
Plaintiffs filed their Complaint in the Massachusetts Superior Court, Suffolk County, on
September 1, 2016.

Record in State Court: The following pleadings, as are available in the file of the state

court action, encompass all of the pleadings in this action as of the date hereof:
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1) Summons;

2) Complaint;

3) Civil Action Cover Sheet;

4) Attorney appearances, Valentin David Gurvits, Esq. and Matthew Shayefar, Esq., for

all Defendants.
The state court docket, Summons, Complaint, and Civil Action Cover Sheet are attached hereto
as Exhibit A.

Federal Question is Basis for Federal Court Jurisdiction: The Complaint asserts
claims against all Defendants based on civil violations of the Racketeering and Corrupt Practices
Act (“RICO”). Specifically, Count IX of the Complaint asserts claims against the Defendants
based on 18 U.S.C. § 1962(c), citing predicate acts under 18 U.S.C. § 1343 (Wire Fraud), 18
U.S.C. § 1957 (Monetary Transactions in Property Derived from Specified Unlawful Activity),
and 18 U.S.C. § 1956 (Laundering of Monetary Instruments). Count X of the Complaint asserts
RICO Conspiracy claims against the Defendants under 18 U.S.C. § 1962(d).

The Complaint also asserts state law claims for Breach of Fiduciary Duty (Count I,
against Defendant Lin); Breach of Contract (Count II, against Defendant Lin); Unjust
Enrichment (Count III against Lin and Encompass); Fraudulent Misrepresentation (Count IV,
against Lin and Encompass); Embezzlement (Count V, against Lin and Encompass); Conversion
(Count VI, against Lin and Encompass); Civil Conspiracy (Count VII, against Lin and
Encompass); and Accounting (Count VIII, against Lin and Encompass). This Court has subject-
matter jurisdiction over these state law claims under 28 U.S.C. § 1367 (Supplemental
Jurisdiction) because these claims are “so related to claims in the action within such original
Jurisdiction that they form part of the same case or controversy under Article II] of the United

States Constitution.”

Nature and Description of Case: This action seeks monetary damages for alleged
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breach of fiduciary duty, breach of contract, unjust enrichment, fraudulent misrepresentation,
embezzlement, conversion, civil conspiracy, accounting, Civil RICO (18 U.S.C. § 1962(c)), and
RICO Conspiracy (18 U.S.C. § 1962(d), all arising out of a business relationship between
Plaintiffs and Defendants relating to the importation and sale of Icelandic lamb horns to be sold
in the United States as dog treats.

Applicable Statutes: This is a civil action over which this Court has original jurisdiction
pursuant to 28 U.S.C. § 1331. This action is removable to this Court pursuant to 28 U.S.C.

§§ 1441(a) and 1446. This removal is timely in that Defendants have filed this Notice of
Removal within 30 days of the date of filing of the Complaint (September 2, 2016).

Concurrent Notice to State Court: Defendants are concurrently filing a copy of this
Notice of Removal with the Clerk of the Massachusetts Superior Court, Suffolk County,
pursuant to 28 U.S.C. § 1446(d).

Stipulation of Extension of Time to Answer or Otherwise Respond to the
Complaint: As of the date of this filing, Plaintiffs have not filed returns of service in the
Massachusetts court, and have agreed not to do so. Plaintiffs have further agreed to the
professional courtesy of a 30-day extension of the time to answer or otherwise respond to the

Complaint, to and including October 4, 2016.

DATED this 21 day of September, 2016.

/s/ Mitchell J. Matorin

Mitchell J. Matorin (BBO#649304)
MATORIN LAW OFFICE, LLC

18 Grove Street, Suite 5

Wellesley, MA 02482

T: (781) 453-0100

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F: (888) 628-6746
E: mmatorin@matorinlaw.com

Counsel for Defendants

CERTIFICATE OF SERVICE

I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to counsel for Plaintiffs on September 21, 2016, via first-class mail,
as follows:

Valentin D. Gurvits

Matthew Shayefar

Boston Law Group, PC

825 Beacon Street, Suite 20
Newton Centre, MA 02459

/s/ Mitchell J. Matorin

NOTICE TO DEFENDANT — You need not appear personally in court to answer the complaint, but if you claim to have a
y must serve a copy of your written answer within 20 days as specified herein and also file tha

defense, either you or your attorne
original in the Clerk's Office.

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Commonwealth of Massachusetts

SUPERIOR COURT DEPARTMENT
OF THE TRIAL COURT
CIVIL ACTION

No. 1684 CV opF.26

fossa Leb, TentaudicAUS LLC preintinte
aut Stan Lophw

Vv.
TL Sion Lin cnet Encounba S$ _ , Defendant(s)
Communica hous, Tue |
SUMMONS

To the above-named Defendant:

You are hereby summoned and required to serve upon

Vo bu fin Cuevits Esel..
cf Bestou Low  Ghoup, |

plaintiff's attorney, whose address is BI, Procen St ‘ Ste 20 Lareton rh Bi 7 an answer to
the complaint which is herewith served upon you, within 20 days after service of this summons upon you,
exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for the
relief demanded in the complaint. You are also required to file your answer to the complaint in the office
of the Clerk of this court at Boston either before service upon plaintiff’s attorney or within a reasonable
time thereafter.

Unless otherwise provided by Rule 13(a), your answer must state as a counterclaim any claim which
you may have against the plaintiff which arises out of the transaction or occurrence that is the subject
matter of the plaintiff's claim or you will thereafter be barred from making such claim in any other action.

i bricant . A
Witness, ith Fa se, Esquire, at Boston, the a day of
Suptevshe E , in the year of our Lord two thousand SS % 4224
TRUE ATTESFCOPY : He 7 /
LB, Clerk/Magistrate

NoTEDEPUTY SHERIFF
1. This summons is issued pursuant to Rule 4 of the Massachusetts Rules of Civil Procedure.
2. When more than one defendant is involved, the names of all defendants should appear in the caption. If a separate summons is used for each defendant,
each should be addressed to the particular defendant.
3. TOLRLAINTIFF?S ATTORNEY: PLEASE CIRCLE TYPE OF ACTION INVOLVED
oa) TORT —~ (2) MOTOR VEHICLE TORT — (3) CONTRACT — (4) EQUITABLE RELIEF ~ (5) OTHER
\ Le

wee

FORM CIV. | 3rd Rev. 20M-10/11
Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 206 of 208

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1, Title of case (name of first party on each side only) Fossa, Lid., et al. v. | Jian Lin, etal.

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
rule 40.1(a}(1)).
h 410, 441, 470, 535, 830°, 891, 893, 895, R.23, REGARDLESS OF NATURE OF SUIT.
| | Me 110, 130, 140, 160, 190, 196, 230, 240, 290,320,362, 370, 374, 380, 430, 440, 442, 443, 445, 446, 448, 710, 720,
740, 790, 820", 840", 850, 870, 871.
Mh 120, 150, 151, 152, 153, 195, 210, 220, 245, 310, 315, 330, 340, 345, 350, 355, 360, 365, 367, 368, 375, 376, 385,
400, 422, 423, 450, 460, 462, 463, 465, 480, 490, 510, 530, 540, 550, 555, 625, 690, 751, 791, 867-865, 890, 896,
899, 950.
*Aiso complete AO 120 or AO 121. for patent, trademark or copyright cases.
3.

Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed caso in this court.

4. Has a prior action between the same parties and based on the same clalm ever been filed in this court?
YES NO

§. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES ] NO
YES | NO

6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §22847
LJ

7. Doall of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside in “Wi division? - Py Rule 40.1{d}).

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES

YES NO
A if yes, in which yl of the non-governmental parties reside?
Eastern Division Central Division Pl] Western Division [|
B. If no, in which division do the majority of the plaintifis or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division [| Central Division [ Western Division LJ

8. if filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,

submit a separate sheet identifying the motions}
vs LJ ow LI

(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Mitchell J. Matorin (BBO# 549304)

ADDRESS Matorin Law Office, LLC, 18 Grove Street, Suite 5, Wellesley, MA 02482
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TELEPHONE NO. (781) 453-0109 foregging dort ronal nthe
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Robert M. Farr
) Clerk, U.S. Digtrict Ourt
By:,
Deputy Clerk

District of Mdssac usetts
Case 1:16-cv-11914-LTS Document5 Filed 10/04/16 Page 207 of 208

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Case 1:16-cv-11914-LTS Document 5 Filed 10/04/16 Page 208 of 208

JS 44 (Rev. 11/15)

The JS 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

pplement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the

lerk of Court for the

68s

PLAINTIFFS

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIEE CASES)

A, LTD., ICELANDIC PLUS LLC, and STEVEN BARLOW

DEF
1 JIAN

DAN

County of Residence of First Listed Defendant

EN TS
LIN and ENCOMPASS COMMUNICATIONS, INC.

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
(c) Attorneys (iirm Naine, Address, and Telephone Number) Attorneys (if Known)
Valentin D. Gurvits (BBO# 643572), Matthew Shayefar (BBO# 685927)

Boston Law Group, PC
825 Beacon Street, Newton, MA 02459, (617) 928-1806

Mitchell J. Matorin (BBO# 649304)
Matorin Law Office, LLC
18 Grove St., Suite 5, Wellesley, MA 02482 (781) 453-0100

{l. BASIS OF JURISDICTION (piace an “X" in One Bux Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIES (Piace an "Xx" in One Box for Plainuff
(Vor Diversity Cases Only) and One Box for Defendani)
TJ 1 US. Government &%3 Federal Question PTF DEF PTF DEF
Plainwtt (U.S. Government Nota Party} Citizen of This State O 1 © 1 Incorporated or Principal Place o4 04
of Business In This State
J 2 US. Government 0 4 Diversity Citizen of Another State G 2 © 2 Incorporated and Principal Place os os
Defendant (Indicate Citizenship of Parties in ltem II) of Business In Another State
Citizen or Subject of a O03 O 3. Foreign Nation go6 06
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only)
L CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
O 110 Insurance PERSONAL INJURY PERSONALINJURY |G 625 Drug Related Seizure ©) 422 Appeal 28 USC 158 @ 375 False Claims Act
© 120 Marine O 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |G 423 Withdrawal O 376 Qui Tam (31 USC
OC 130 Miller Act 0 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ O 400 State Reapportionment
© 150 Recovery of Overpayment |G 320 Assault, Libel & Phannaceutical __ PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights © 430 Banks and Banking
G 151 Medicare Act C330 Federal Employers’ Product Liability © 830 Patent G 450 Commerce
97 152 Recovery of Defaulted Liability OF 368 Asbestos Personal ©) 840 Trademark G 460 Deportation
Student Loans © 340 Marine Injury Product & 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability BOR SOCIAL SECURITY Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY |0 710 Fair Labor Standards © 861 HIA (1395S ff} O 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 3 370 Other Fraud Act 6 862 Black Lung (923) © 490 Cable/Sat TV
© 160 Stockholders’ Suits G 355 Motor Vehicle O 371 Truth in Lending OG 720 Labor/Management O 863 DIWC/DIWW (405(g)) | 0 850 Securities/Commodities/
G 190 Other Contract Product Liability O 380 Other Personal Relations C) 864 SSID Title XVI Exchange
© 195 Contract Product Liability | 0 360 Other Personal Property Damage GO 740 Railway Labor Act © 865 RSI (405(g)) © 890 Other Statutory Actions
© 196 Franchise injury 0 385 Property Damage O 751 Family and Medical O 891 Agricultural Acts
CO) 362 Personal Injury - Product Liability Leave Act O 893 Environmental Matters
Medical Malpractice G 790 Other Labor Litigation © 895 Freedom of Information
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _| GO 791 Employee Retirement _ FEDERAL TAX SUITS Act
O 210 Land Condemnation O 440 Other Civil Rights Habeas Corpus: Income Security Act © 870 Taxes (U.S. Plaintiff OG 896 Arbitration
O 220 Foreclosure O 441 Voting 463 Alien Detainee or Defendant) O 899 Administrative Procedure
O 230 Rent Lease & Ejectment © 442 Employment © $10 Motions to Vacate © 871 1RS—Third Party Act/Review or Appeal of
© 240 Torts to Land C443 Housing/ Sentence 26 USC 7609 Agency Decision
TY 245 Tort Product Liability Accommodations 0 530 General © 950 Constitutionality of
© 290 Ali Other Real Property © 445 Amer. w/Disabilities -| 0 535 Death Penalty _ IMMIGRATION State Statutes
Employment Other: 0 462 Naturalization Application
0 446 Amer. w/Disabilities -| 540 Mandamus & Other ]O 465 Other linmigration
Other 0 550 Civil Rights Actions
© 448 Education © 555 Prison Condition
0 560 Civit Detainee -
Conditions of
Confinement

Vv. ORIGIN (Place an “X” in One Box Only)

01} Onginal QK2 Removed from

OG 3° Remanded trom
Proceeding State Court

Appellate Court

0 4 Reinstated or
Reopened

© 5 Transferred from
Another District
(specify)

Cite the US. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

18 USE: See. {aus y 6

O 6 Multidistrict
Litigation

VI. CAUSE OF ACTION

Brief description of cause:

Violations of Civil RICO and related state law claims
VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 200,000.00 JURY DEMAND: 2% Yes No
VII. RELATED CASE(S)
iF ANY See msirwcnons): nce DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
09/21/2016 /s/ Mitchell J. Matorin

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

